                         IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                    NORTHERN DIVISION


     In re:                                                       Chapter 11

     REMINGTON OUTDOOR COMPANY, INC.,                             Case No. 20-81688-11
     et al.,1
                                                                  Joint Administration Requested
                                 Debtors.


             DEBTORS’ APPLICATION FOR ENTRY OF INTERIM AND FINAL
            ORDERS AUTHORIZING THE EMPLOYMENT AND RETENTION OF
          DUCERA PARTNERS LLC AS INVESTMENT BANKER TO THE DEBTORS

              Remington Outdoor Company, Inc. and its affiliated debtors, as debtors and debtors in

 possession (collectively, the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter

 11 Cases”) hereby file this application (the “Application”) for entry of an interim order,

 substantially in the form of Exhibit B hereto (the “Proposed Interim Order”), and a final order

 substantially in the form of Exhibit C hereto (the “Proposed Final Order,” and together with the

 Proposed Interim Order, the “Proposed Orders”), pursuant to section 327(a) of title 11 of the

 United States Code, 11 U.S.C. § 101, et seq. (the “Bankruptcy Code”) and Rules 2014(a) and

 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), authorizing the

 employment and retention of Ducera Partners LLC and, where appropriate, Ducera Securities LLC

 (collectively, “Ducera”) as investment banker to the Debtors as of the Petition Date (as defined

 below), in accordance with the terms and conditions of that certain engagement letter executed on




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   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.

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 May 15, 2020, including any amendments and schedules thereto (the “Engagement

 Agreement”),2 attached as Exhibit 1 to the Proposed Orders. In support of this Application, the

 Debtors submit the Declaration of Bradley C. Meyer in Support of Debtors’ Application for Entry

 of Interim and Final Orders Authorizing the Employment and Retention of Ducera Partners LLC

 as Investment Banker to the Debtors (the “Meyer Declaration”), attached hereto as Exhibit A,

 and respectfully represent as follows:

                                      JURISDICTION AND VENUE

           1.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

 This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2), and the Court may

 enter interim and final orders consistent with Article III of the United States Constitution.

           2.     Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

           3.     The statutory and procedural predicates for the relief requested herein are

 Bankruptcy Code section 327(a) and Bankruptcy Rules 2014 and 2016. Compensation will be in

 accordance with sections 330 and 331 of the Bankruptcy Code.

                                        GENERAL BACKGROUND

           4.     On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

 petition for relief under chapter 11 of the Bankruptcy Code. The Debtors continue to operate their

 businesses as debtors and debtors in possession pursuant to sections 1107(a) and 1108 of the

 Bankruptcy Code. No party has requested the appointment of a trustee or examiner and no

 committee has been appointed or designated in these Chapter 11 Cases. The Debtors’ request for

 joint administration of these Chapter 11 Cases for procedural purposes only is currently pending.



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  Certain confidential sale information in the Engagement Agreement has been redacted as attached in Exhibit 1 to the
 Proposed Orders. An unredacted version of the Engagement Agreement has been provided to the Bankruptcy
 Administrator.

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           5.   The Debtors are one of America’s oldest and largest manufacturers of firearms,

 ammunition and related products for commercial, military, and law enforcement customers

 throughout the world. The Debtors employ approximately 2,100 full-time employees and operate

 seven manufacturing facilities located across the United States.           The Debtors’ corporate

 headquarters is located in Huntsville, Alabama.

           6.   Additional information regarding the Debtors’ businesses, assets, capital structure,

 and the circumstances leading to the filing of these Chapter 11 Cases is set forth in the Declaration

 of Ken D’Arcy in Support of Chapter 11 Petitions and First Day Pleadings of Remington Outdoor

 Company, Inc. and its Affiliated Debtors and Debtors in Possession (the “First Day

 Declaration”), filed contemporaneously herewith and incorporated by reference herein.

                                      RELIEF REQUESTED

           7.   By this Application, the Debtors seek entry of interim and final orders, substantially

 in the forms attached hereto as Exhibit B and Exhibit C, respectively, to employ and retain Ducera

 pursuant to section 327(a) of the Bankruptcy Code as their investment banker in these Chapter 11

 Cases, effective as of the Petition Date.

                               BASIS FOR RELIEF REQUESTED

           A.   Ducera’s Qualifications

           8.   As described more fully in the Meyer Declaration, the Debtors engaged Ducera as

 their investment banker in November 2019 to assist the Debtors in connection with one or more

 potential transactions (a “Transaction”) including:

                (a)     an acquisition, merger, consolidation or other business combination
                        pursuant to which the business or assets of the Debtors are, directly or
                        indirectly, combined with, or acquired by, another company;

                (b)     the acquisition, directly or indirectly, by a buyer or buyers (which term shall
                        include a “group” of persons as defined in Section 13(d) of the Securities
                        Exchange Act of 1934, as amended) of equity interests or options, or any

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                        combination hereof, constituting a majority of the then-outstanding stock of
                        the Debtors or possessing a majority of the then-outstanding voting power
                        of the Company (the “Voting Stock”);

                 (c)    any other purchase or acquisition, directly or indirectly, by a buyer or buyers
                        or a majority of the assets or Voting Stock of the Debtors; or

                 (d)    the formation of a joint venture partnership or similar entity with the
                        Debtors or direct investment in the Debtors for the purposes of effecting a
                        transfer of a majority of the Voting Stock of the Debtors to a third party, a
                        lease of assets with or without a purchase option, a merger, consolidation or
                        other business combination, a tender offer, or any similar transaction,
                        including through a sale of a material portion of the Debtors assets pursuant
                        to section 363 of the Bankruptcy Code.

           9.    The Debtors submit that a successful Transaction or series of Transactions is the

 best way to maximize the value of the Debtors’ assets. To that end, Ducera has been working

 since November 2019 to contact potential strategic and financial acquirers and prepare confidential

 information memoranda describing the Debtors’ business, operations, properties, financial

 condition and financial prospects for distribution to interested parties. In addition, Ducera has also

 provided advice on structure, negotiation strategy, valuation analyses, financial terms and other

 financial matters, as well as negotiated confidentiality agreements on the Debtors’ behalf. The

 Debtors seek to retain Ducera to serve as their investment banker in connection with these Chapter

 11 Cases so that they may continue to assist the Debtors in providing the services described herein.

           10.   The Debtors seek to retain Ducera because of its experience in, among other areas,

 providing leading-edge capital structure and restructuring advice in workout and bankruptcy

 situations. Ducera’s debtor-advisory services include a wide range of activities such as providing

 advice on maximizing value of the estate through the chapter 11 process, evaluating the needs for

 DIP financing and potential sources of such financing, assisting in developing, negotiating, and

 validating capital structure alternatives, conducting diligence on underlying business plans and

 liquidity projections, evaluating contracts and operating agreements to assess business risk from


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 vendors, and evaluating potential contract rejections. In addition, Ducera professionals have

 extensive experience in investigating and analyzing potential claims of debtors and their estates.

 Ducera has (i) substantial experience with, and knowledge of, companies involved in retail,

 consumer products and other merchandising-related industries; (ii) extensive knowledge of

 potential buyers interested in the Debtors’ industry; and (iii) substantial sell-side investment

 banking and restructuring transaction experience.        In addition to numerous out-of-court

 restructuring and sale assignments, Ducera professionals have served as an investment banker to

 debtors, creditor groups, and asset purchasers in a number of bankruptcy matters including, among

 others: In re Imerys Talc America, Inc., Case No. 19-10289 (Bankr. D. Del.); In re Paniolo Cable

 Company, LLC, Case No. 18-01319 (Bankr. D. Haw.); In re Specialty Retail Shops Holding Corp.,

 Case No. 19-80064 (Bankr. D. Neb.); In re Sungevity, Case No. 17-10561 (Bankr. D. Del.); In re

 Toys “R” Us, Inc., Case No. 17-034665 (Bankr E.D. Va.); In re Panda Temple Power, LLC, Case

 No. 17-10839 (Bankr. D. Del.); In re Dacco Transmission Parts (NY), Inc., Case No. 16-13245

 (Bankr. S.D.N.Y.); In re Hercules Offshore, Inc., Case No. 16-11385 (Bankr. D. Del.); In re

 Illinois Power Generating Co., Case No. 16-36326 (Bankr. S.D. Tex.); and In re Paragon Offshore

 PLC, Case No. 16-10386 (Bankr. D. Del.). As a result, the Debtors believe that Ducera is well

 qualified to perform these services and represent the Debtors’ interests in their Chapter 11 Cases.




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           B.      Services to Be Provided

           11.     The Engagement Agreement governs the relationship between Ducera and the

 Debtors. The terms and conditions of the Engagement Agreement were heavily negotiated, and

 reflect the parties’ mutual agreement as to the substantial efforts and resources that will be required

 in this engagement. Under the Engagement Agreement, the Debtors anticipate that Ducera will

 perform such financial and investment banking services for the Debtors in connection with the

 Transactions as Ducera and the Debtors deem appropriate and feasible during these Chapter 11

 Cases, including:3

                   (a)      General Investment Banking Services, which may include: (1) becoming
                            familiar with the business, operations, financial condition, and capital
                            structure of the Debtors; (2) assisting with the development of financial data
                            and presentations to the Debtors and the Board of Directors of the Debtors
                            (the “Board”), various creditors, and other parties; (3) analyzing the
                            Debtors’ financial liquidity and evaluating alternatives to improve such
                            liquidity; (4) assisting with the evaluation of the Debtors’ valuation, debt
                            capacity and alternative capital structures in light of its projected cash flow;
                            and (5) providing such other advisory services as are customarily provided
                            in connection with the analysis and negotiation of any of the Transactions,
                            including, without limitation, any testimony in connection with the
                            foregoing.

                   (b)      Restructuring Services, which may include: (1) analyzing various
                            Restructuring (as defined in the Engagement Agreement) scenarios and the
                            potential impact of these scenarios on the value of the Debtors and the
                            recoveries of those stakeholders impacted by the Restructuring; (2)
                            providing strategic advice with regard to Restructuring or refinancing the
                            Debtors’ existing obligations; (3) providing financial advice and assistance
                            to the Debtors in developing a Restructuring; (4) providing financial advice
                            and assistance to the Debtors in structuring any new securities to be issued
                            under a Restructuring; (5) assisting the Debtors and/or participating in




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    Summaries and other descriptions of the terms of the Engagement Agreement set forth herein are not intended to
 replace the terms of the Engagement Agreement, which shall govern in their entirety to the extent of any inconsistency
 between this Application, the Meyer Declaration and the Engagement Agreement. The Proposed Orders are intended
 to modify or qualify the Engagement Agreement in certain respects (as is necessary in connection with Ducera’s
 retention in these Chapter 11 Cases) and shall control in the event of any inconsistencies between this Application,
 the Engagement Agreement, the Meyer Declaration and the Proposed Orders.


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                        negotiations with entities or groups affected by the Restructuring; and (6)
                        providing any required testimony in connection with the foregoing.

                 (c)    Transaction Services, which may include (1) providing financial advice to
                        the Debtors in structuring, evaluating and effectuating a Transaction,
                        identifying potential counterparties and, if requested, contacting and
                        soliciting potential counterparties; (2) assisting with the arrangement and
                        execution of a Transaction, including identifying potential counterparties or
                        parties in interest, assisting in the due diligence process, and negotiating the
                        terms of any proposed Transaction; (3) providing strategic advice to the
                        Debtors in connection with the evaluation of, and responses to, activist
                        shareholder action; and (4) providing any testimony in connection with the
                        foregoing.

                 (d)    Financing Services, which may include: (1) providing financial advice to
                        the Debtors in connection with the structure and effectuation of a Financing
                        (as defined in the Engagement Agreement), identifying potential investors
                        and, at the Debtors’ request, contacting and soliciting such investors; (2)
                        assisting with the arrangement of a Financing, including identifying
                        potential sources of capital, assisting in the due diligence process, and
                        negotiating the terms of any proposed Financing; and (3) providing any
                        testimony in connection with the foregoing;

           C.    No Duplication of Services

           12.   The services provided by Ducera are distinct and specific investment banking

 services, and such services will complement and not duplicate the services rendered by any other

 professional retained in these Chapter 11 Cases. As set forth in the Meyer Declaration, Ducera

 understands that the Debtors have retained and may retain additional professionals during the term

 of the engagement and Ducera agrees to work cooperatively with such professionals to integrate

 any respective work conducted by the professionals on behalf of the Debtors.

           D.    Professional Compensation

           13.   In consideration of the services to be provided by Ducera pursuant to the terms of

 the Engagement Agreement and subject to Court approval, the applicable provisions of the

 Bankruptcy Code, and the Bankruptcy Rules, the Debtors have agreed to the following fee

 structure (the “Fee Structure”):



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                 (a)   Monthly Advisory Fee. In connection with the provision of general
                       investment banking services, the Debtors have agreed to pay Ducera a non-
                       refundable monthly cash fee of $150,000 (the “Monthly Advisory Fee”)
                       due a payable each month during the engagement.

                 (b)   Restructuring Fee. In connection with the provision of Restructuring
                       services, the Debtors have agreed to pay Ducera a restructuring fee of
                       $3,500,000 (the “Restructuring Fee”) earned and payable upon
                       consummation of a Restructuring for the Debtors.

                 (c)   Transaction Fee. In connection with the provision of Transaction services,
                       the Debtors have agreed to pay Ducera a transaction fee equal to 1.75% of
                       the proceeds received by the Debtors’ estates (the “Transaction Fee”)
                       payable upon the consummation of any Transaction.

                 (d)   Financing Fee. In connection with the provision of Financing services, the
                       Debtors have agreed to pay Ducera a financing fee (the “Financing Fee”),
                       which shall be earned upon commitment and payable upon the closing or
                       termination of such Financing, equal to: (i) 1.5% of the face amount of any
                       senior secured debt raised by the Debtors, including, but not limited to,
                       debtor-in-possession Financing, revolving credit and asset backed lending
                       facilities, and exit Financing, provided that the Financing Fee shall be no
                       less than $500,000; and (ii) 3.5% of the face amount of any unsecured debt
                       or equity raised by the Debtors in connection with a Restructuring or
                       Transaction.

 provided that, the Debtors are (1) only obligated to pay Ducera the greater of the Restructuring

 Fee and the Transaction Fee, and not both a Restructuring Fee and a Transaction Fee, and (2) the

 Financing Fee will be credited against the Transaction Fee for the Financing that is provided by

 the Stalking Horse Bidder or such other winning bidder of any Transaction.

           14.   Under Bankruptcy Code section 327(a), the Debtors may retain Ducera on

 reasonable terms and conditions. The Debtors believe that the Fee Structure described in the

 Engagement Agreement is reasonable and that it is comparable to those generally charged by

 investment banking and financial advisory firms of similar stature to Ducera for comparable

 engagements.




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           15.   The hours worked, the results achieved, and the ultimate benefit to the Debtors of

 the work performed by Ducera in connection with the engagement may vary and this has been

 taken into account in setting the above fees.

           16.   In addition, given the numerous issues which Ducera may be required to address in

 the performance of its services under the Engagement Agreement, Ducera’s commitment to the

 variable level of time and effort necessary to address all such issues as they arise, and the market

 prices for Ducera’s services for engagements of this nature in an out-of-court context, the Debtors

 believe that the Fee Structure set forth in the Engagement Agreement—including the Monthly

 Advisory Fee, Restructuring Fee, Transaction Fee, and Financing Fee—is reasonable under the

 standards set forth in section 328(a) of the Bankruptcy Code.

           17.   Pursuant to sections 330 and 331 of the Bankruptcy Code and the Bankruptcy

 Rules, Ducera will apply to the Court for final allowance of compensation and reimbursement of

 expenses (but shall not be required to file monthly or interim fee applications), which may be

 incorporated with a motion seeking approval of any Restructuring, Transaction, or Financing.

 Because Ducera is being compensated under a transaction-based Fee Structure (and not based on

 an hourly rate), the Debtors request that Ducera not be required to submit detailed time records in

 support of its final fee application. The Debtors submit that the terms and conditions set forth in

 the Engagement Agreement, which are similar to the terms and conditions Ducera offers to similar

 clients for similar services, are reasonable.

           E.    Indemnification Provisions

           18.   As part of the overall compensation payable to Ducera under the terms of the

 Engagement Agreement, the Debtors have agreed to certain indemnification and contribution

 provisions described in Annex A to the Engagement Agreement (the “Indemnification



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 Provisions”).    As more fully set forth in the Engagement Agreement, the Indemnification

 Provisions provide that the Debtors will indemnify and hold harmless Ducera and its affiliates and

 their respective members, managers, directors, officers, partners, agents, and employees

 (collectively, the “Indemnified Parties”) from and against any losses, claims, expenses (including

 reasonable attorneys’ fees), damages or liabilities (including actions or proceedings in respect

 thereof (collectively, “Losses”) (i) as a result of (a) the Debtors’ actions or failures to act (including

 statements or omissions made or information provided by the Debtors or their agents) in

 connection with the engagement; or (b) actions or failures to act by an Indemnified Person in

 connection with this engagement with the Debtors’ consent, or otherwise in reasonable reliance on

 the Debtors’ direction, actions, or failures to act in each case in connection with the engagement;

 or (ii) otherwise related to or arising out of the engagement, Ducera’s performance thereof or any

 other services Ducera is asked to provide to the Debtors pursuant to the Engagement Agreement

 (in each case, including activities prior to the date hereof); except that these provisions shall not

 apply to any Losses (nor shall the limitation of liability above apply) to the extent that they are

 finally determined by a court of competent jurisdiction to have resulted from the bad faith, willful

 misconduct, or gross negligence of an Indemnified Person; provided, however, that the Debtors’

 obligations as set forth in the Engagement Agreement and as described in this Paragraph shall be

 subject to the provisions of the Proposed Orders during the pendency of the Chapter 11 Cases.

           19.   The Debtors and Ducera believe that the Indemnification Provisions are customary

 and reasonable for investment banking engagements, both out-of-court and in chapter 11 cases.

 Indemnification provisions for advisors have been approved in other chapter 11 cases in this

 District. See, e.g., In re Mission Coal Co., LLC, Case No. 18-04177-TOM11 (Bankr. N.D. Ala.

 Nov. 30, 2018) [Doc. 364]; In re Walter Energy, Inc., Case No. 15-02741-TOM11 (Bankr. N.D.



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 Ala. Oct. 1, 2015) [Doc. 819]; In re Belle Foods, LLC, Case No. 13-81963-JAC11 (Bankr. N.D.

 Ala. July 18, 2013) [Doc. 158].

           F.    Ducera’s Disinterestedness

           20.   To the best of the Debtors’ knowledge, information and belief, and based entirely

 and in reliance upon the Meyer Declaration: (a) Ducera is a “disinterested person” within the

 meaning of section 101(14) of the Bankruptcy Code and as required by section 327(a) of the

 Bankruptcy Code and referenced by section 328(c) of the Bankruptcy Code, and holds no interest

 materially adverse to the Debtors, their creditors, and shareholders for the matters for which

 Ducera is to be employed; and (b) Ducera has no connection to the Debtors, their creditors,

 shareholders or related parties herein except as disclosed in the Meyer Declaration. Moreover, the

 retention and employment of Ducera is necessary and in the best interests of the Debtors, their

 estates, creditors and equity interest holders.

           21.   Also, to the best of the Debtors’ knowledge, information and belief, and based

 entirely and in reliance upon the Meyer Declaration: (i) to the best of Debtor’s knowledge,

 information and belief, none of Ducera’s past or current engagements would or does appear to

 create an interest materially adverse to the interests of the Debtors, creditors, or equity security

 holders in these Chapter 11 Cases. As such the Debtors believe that Ducera is disinterested and

 holds no materially adverse interest as to the matters upon which it is to be retained. To the extent

 Ducera discovers any facts bearing on the matters described herein during the period of Ducera’s

 retention, it will supplement the information contained in the Meyer Declaration.

           G.    The Relief Requested Should Be Granted

           22.   The Debtors seek authority to retain and employ Ducera as their investment banker

 under Bankruptcy Code section 327, which provides that a debtor is authorized to employ

 professional persons “that do not hold or represent an interest adverse to the estate, and that are

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 disinterested persons, to represent or assist the [Debtors] in carrying out the [Debtors’] duties under

 this title.” 11 U.S.C. § 327(a). Section 1107(b) of the Bankruptcy Code elaborates upon sections

 101(14) and 327(a) of the Bankruptcy Code in cases under chapter 11 of the Bankruptcy Code and

 provides that “a person is not disqualified for employment under section 327 of [the Bankruptcy

 Code] by a debtor in possession solely because of such person’s employment by or representation

 of the debtor before the commencement of the case.” 11 U.S.C. § 1107(b).

           23.   The Debtors seek approval of the Fee Structure and the Engagement Agreement

 (including the Indemnification Provisions) pursuant to Bankruptcy Code section 328(a), which

 provides, in relevant part, that the Debtors “with the court’s approval, may employ or authorize

 the employment of a professional person under section 327 . . . on any reasonable terms and

 conditions of employment, including on a retainer, on an hourly basis, on a fixed or percentage fee

 basis, or on a contingent fee basis.” 11 U.S.C. § 328(a). Accordingly, Bankruptcy Code section

 328 permits the compensation of professionals, including consultants, on flexible terms that reflect

 the nature of their services and market conditions. Thus, section 328 is a significant departure

 from prior bankruptcy practice relating to the compensation of professionals. Indeed, as the United

 States Court of Appeals for the Fifth Circuit recognized in Donaldson Lufkin & Jenrette Sec. Corp.

 v. Nat’l Gypsum (In re Nat’l Gypsum Co.), 123 F.3d 861, 862 (5th Cir. 1997):

                 Prior to 1978 the most able professionals were often unwilling to
                 work for bankruptcy estates where their compensation would be
                 subject to the uncertainties of what a judge thought the work was
                 worth after it had been done. That uncertainty continues under the
                 present § 330 of the Bankruptcy Code, which provides that the court
                 award to professional consultants “reasonable compensation” based
                 on relevant factors of time and comparable costs, etc. Under present
                 § 328 the professional may avoid that uncertainty by obtaining court
                 approval of compensation agreed to with the trustee (or debtor or
                 committee).

                 (internal citations omitted).


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           24.   The Debtors believe that the Fee Structure in the Engagement Agreement sets forth

 reasonable terms and conditions of employment and should be approved under Bankruptcy Code

 section 328(a). The Fee Structure adequately reflects (i) the nature of the services to be provided

 by Ducera and (ii) fee and expense structures and indemnification provisions typically used by

 Ducera and other leading investment banking firms. In addition, as noted above, Ducera is

 “disinterested” and all of its fees and expenses are subject to approval of the Court in accordance

 with the Bankruptcy Code, the Bankruptcy Rules, and further orders of the Court.

           25.   The Debtors respectfully request that Ducera’s retention be made effective as of the

 Petition Date so that Ducera may be compensated for all services it has performed for the benefit

 of the Debtors’ bankruptcy estates. Indeed, Ducera rendered these services to the Debtors in

 advance of approval of this Application in anticipation that its retention would be approved as of

 the Petition Date. Due in part to the many significant, pressing issues facing the Debtors in the

 early days of these Chapter 11 Cases, Ducera has been focused on ensuring a smooth transition for

 the Debtors into chapter 11, and working with the Debtors’ other advisors and other parties in

 interest on numerous strategic negotiations. Compensating Ducera for the necessary and critical

 services performed as of the Petition Date would not prejudice third parties as the services

 performed by Ducera were needed in any event and any other professional would have had to be

 similarly compensated. The Debtors, their estates and creditors, received a material benefit from

 the services rendered by Ducera after the Petition Date, and the Debtors believe it just and

 appropriate to compensate Ducera accordingly.         The Debtors respectfully submit that the

 circumstances of these Chapter 11 Cases warrant approval of the Application as of the Petition

 Date.




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           26.   For the foregoing reasons, the Debtors submit that the relief requested in the

 Application is in the best interests of the Debtors, their estates, and all other parties in interest in

 these Chapter 11 Cases and the Court should approve the retention and employment of Ducera

 pursuant to the terms set forth in the Engagement Agreement.

                                               NOTICE

           27.   Notice of the hearing on the relief requested in this Application will be provided by

 the Debtors in accordance and compliance with Bankruptcy Rules 4001 and 9014 and is sufficient

 under the circumstances. The Debtors will provide notice of this Application to the following

 parties-in-interest: (i) the Bankruptcy Administrator; (ii) the Debtors’ consolidated list of creditors

 holding the forty largest unsecured claims; (iii) counsel to Whitebox Advisors LLC, as Priority

 Term Loan Lender; (iv) counsel to Cantor Fitzgerald Securities, as Priority Term Loan Agent

 under the Debtors’ prepetition Priority Term Loan Credit Agreement; (v) counsel to Ankura Trust

 Company, as FILO Agent under the Debtors’ prepetition FILO Term Loan Agreement, and as Exit

 Term Loan Agent under the Debtors’ prepetition Exit Term Loan Agreement; (vi) counsel to

 Franklin, Inc., as FILO Lender; (vii) the United States Internal Revenue Service; (viii) counsel to

 the United Mine Workers of America; and (ix) all parties entitled to notice pursuant to Bankruptcy

 Rule 2002. In light of the nature of the relief requested, the Debtors submit that no other or further

 notice is necessary under the circumstances.

           WHEREFORE, the Debtors respectfully request entry of interim and final orders,

 substantially in the forms attached hereto as Exhibit B and Exhibit C, respectively, authorizing

 the employment and retention of Ducera as investment banker to the Debtors in these Chapter 11

 Cases as requested in this Application, and granting such other and further relief as may be just

 and proper under the circumstances.



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 Dated: July 28, 2020

                                    /s/ Derek F. Meek
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                                    Proposed Attorneys for the Debtors and Debtors in
                                    Possession




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                                    Exhibit A

                                Meyer Declaration




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                         IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                    NORTHERN DIVISION


     In re:                                                       Chapter 11

     REMINGTON OUTDOOR COMPANY, INC.,                             Case No. 20-81688-11
     et al.,1
                                                                  Joint Administration Requested
                                 Debtors.


               DECLARATION OF BRADLEY C. MEYER IN SUPPORT OF
             DEBTORS’ APPLICATION FOR ENTRY OF INTERIM AND FINAL
            ORDERS AUTHORIZING THE RETENTION AND EMPLOYMENT OF
          DUCERA PARTNERS LLC AS INVESTMENT BANKER TO THE DEBTORS

              I, Bradley C. Meyer, make this declaration pursuant to 28 U.S.C. § 1746 and state as

 follows:

              1.    I am a Partner at the firm of Ducera Partners LLC and a registered representative

 of Ducera Securities LLC (collectively, “Ducera”), an internationally recognized investment

 banking firm, which maintains its headquarters at 499 Park Avenue, 16th Floor, New York, New

 York 10022. Unless otherwise stated, I have personal knowledge of all facts set forth in this

 Declaration, and they are true and correct.

              2.    I am duly authorized to make this declaration (this “Declaration”) on behalf of

 Ducera and submit this Declaration in support of the Debtors’ Application for Entry of Interim and

 Final Orders Authorizing the Retention and Employment of Ducera Partners LLC as Investment




 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.



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 Banker to the Debtors (the “Application”),2 filed concurrently with this Declaration, in which the

 Debtors seek entry of interim and final orders authorizing the employment of Ducera as investment

 banker to the Debtors pursuant to Bankruptcy Code section 327(a), Bankruptcy Rules 2014(a) and

 2016, and under the terms and conditions set forth in the Application.

            3.       Except as otherwise stated in this Declaration, I have personal knowledge of the

 facts set forth herein and, if called as a witness, I could and would testify thereto. Certain of the

 disclosures set forth herein are related to matters within the knowledge of other employees of

 Ducera and are based on information provided by them.

                                        DUCERA’S QUALIFICATIONS

            4.       In November 2019, the Debtors engaged Ducera as their investment banker to assist

 the Debtors in connection with one or more potential transactions (a “Transaction”) including:

                     (a)      an acquisition, merger, consolidation or other business combination
                              pursuant to which the business or assets of the Debtors are, directly or
                              indirectly, combined with, or acquired by, another company;

                     (b)      the acquisition, directly or indirectly, by a buyer or buyers (which term shall
                              include a “group” of persons as defined in Section 13(d) of the Securities
                              Exchange Act of 1934, as amended) of equity interests or options, or any
                              combination hereof, constituting a majority of the then-outstanding stock of
                              the Debtors or possessing a majority of the then-outstanding voting power
                              of the Company (the “Voting Stock”);

                     (c)      any other purchase or acquisition, directly or indirectly, by a buyer or buyers
                              or a majority of the assets or Voting Stock of the Debtors; or

                     (d)      the formation of a joint venture partnership or similar entity with the
                              Debtors or direct investment in the Debtors for the purposes of effecting a
                              transfer of a majority of the Voting Stock of the Debtors to a third party, a
                              lease of assets with or without a purchase option, a merger, consolidation or
                              other business combination, a tender offer, or any similar transaction,
                              including through a sale of a material portion of the Debtors assets pursuant
                              to section 363 of the Bankruptcy Code.



 2
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Application.


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           5.   In order to maximize the value of the Debtors’ assets, Ducera has been working

 since November 2019 to contact potential strategic and financial acquirers and prepare confidential

 information memoranda describing the Debtors’ business, operations, properties, financial

 condition and financial prospects for distribution to interested parties. In addition, Ducera has also

 provided advice on structure, negotiation strategy, valuation analyses, financial terms and other

 financial matters, as well as negotiated confidentiality agreements on the Debtors’ behalf.

           6.   Ducera possesses extensive knowledge and expertise relevant to the Debtors’

 business and is well qualified to advise the Debtors in these Chapter 11 Cases. Ducera has (i)

 substantial experience with, and knowledge of, companies involved in retail, consumer products

 and other merchandising-related industries; (ii) extensive knowledge of potential buyers interested

 in the Debtors’ industry; and (iii) substantial sell-side investment banking and restructuring

 transaction experience. In addition to numerous out-of-court restructuring and sale assignments,

 the Ducera professionals have served as an investment banker to debtors, creditor groups and asset

 purchasers in a number of bankruptcy matters including: In re Imerys Talc America, Inc., Case

 No. 19-10289 (Bankr. D. Del.); In re Paniolo Cable Company, LLC, Case No. 18-01319 (Bankr.

 D. Haw.); In re Specialty Retail Shops Holding Corp., Case No. 19-80064 (Bankr. D. Neb.); In re

 Sungevity, Case No. 17-10561 (Bankr. D. Del.); In re Toys “R” Us, Inc., Case No. 17-034665

 (Bankr E.D. Va.); In re Panda Temple Power, LLC, Case No. 17-10839 (Bankr. D. Del.); In re

 Dacco Transmission Parts (NY), Inc., Case No. 16-13245 (Bankr. S.D.N.Y.); In re Hercules

 Offshore, Inc., Case No. 16-11385 (Bankr. D. Del.); In re Illinois Power Generating Co., Case No.

 16-36326 (Bankr. S.D. Tex.); and In re Paragon Offshore PLC, Case No. 16-10386 (Bankr. D.

 Del.).




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                                       SERVICES TO BE PROVIDED

           7.      The Engagement Agreement governs the relationship between Ducera and the

 Debtors. The terms and conditions of the Engagement Agreement were heavily negotiated, and

 reflect the parties’ mutual agreement as to the substantial efforts and resources that will be required

 in this engagement. Under the Engagement Agreement, the Debtors anticipate that Ducera will

 perform such financial and investment banking services for the Debtors in connection with the

 Transactions as Ducera and the Debtors deem appropriate and feasible during these Chapter 11

 Cases, including:3

                   (a)      General Investment Banking Services, which may include: (1) becoming
                            familiar with the business, operations, financial condition, and capital
                            structure of the Debtors; (2) assisting with the development of financial data
                            and presentations to the Debtors and the Board of Directors of the Debtors
                            (the “Board”), various creditors, and other parties; (3) analyzing the
                            Debtors’ financial liquidity and evaluating alternatives to improve such
                            liquidity; (4) assisting with the evaluation of the Debtors’ valuation, debt
                            capacity and alternative capital structures in light of its projected cash flow;
                            and (5) providing such other advisory services as are customarily provided
                            in connection with the analysis and negotiation of any of the Transactions,
                            including, without limitation, any testimony in connection with the
                            foregoing.

                   (b)      Restructuring Services, which may include: (1) analyzing various
                            Restructuring (as defined in the Engagement Agreement) scenarios and the
                            potential impact of these scenarios on the value of the Debtors and the
                            recoveries of those stakeholders impacted by the Restructuring; (2)
                            providing strategic advice with regard to Restructuring or refinancing the
                            Debtors’ existing obligations; (3) providing financial advice and assistance
                            to the Debtors in developing a Restructuring; (4) providing financial advice
                            and assistance to the Debtors in structuring any new securities to be issued
                            under a Restructuring; (5) assisting the Debtors and/or participating in



 3
   Summaries and other descriptions of the terms of the Engagement Agreement set forth herein are not intended to
 replace the terms of the Engagement Agreement, which shall govern in their entirety to the extent of any inconsistency
 between this Declaration, the Application and the Engagement Agreement. The Proposed Orders are intended to
 modify or qualify the Engagement Agreement in certain respects (as is necessary in connection with Ducera’s retention
 in these Chapter 11 Cases) and shall control in the event of any inconsistencies between this Declaration, the
 Application, the Engagement Agreement and the Proposed Orders.


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                       negotiations with entities or groups affected by the Restructuring; and (6)
                       providing any required testimony in connection with the foregoing.

                (c)    Transaction Services, which may include (1) providing financial advice to
                       the Debtors in structuring, evaluating and effectuating a Transaction,
                       identifying potential counterparties and, if requested, contacting and
                       soliciting potential counterparties; (2) assisting with the arrangement and
                       execution of a Transaction, including identifying potential counterparties or
                       parties in interest, assisting in the due diligence process, and negotiating the
                       terms of any proposed Transaction; (3) providing strategic advice to the
                       Debtors in connection with the evaluation of, and responses to, activist
                       shareholder action; and (4) providing any testimony in connection with the
                       foregoing.

                (d)    Financing Services, which may include: (1) providing financial advice to
                       the Debtors in connection with the structure and effectuation of a Financing
                       (as defined in the Engagement Agreement), identifying potential investors
                       and, at the Debtors’ request, contacting and soliciting such investors; (2)
                       assisting with the arrangement of a Financing, including identifying
                       potential sources of capital, assisting in the due diligence process, and
                       negotiating the terms of any proposed Financing; and (3) providing any
                       testimony in connection with the foregoing.

                             NO DUPLICATION OF SERVICES

           8.   Ducera understands that the Debtors have retained and may retain additional

 professionals during the term of the engagement and agrees to work cooperatively with such

 professionals to integrate any respective work conducted by the professionals on behalf of the

 Debtors. I believe that Ducera is providing distinct and specific investment banking services as

 set forth in the Engagement Agreement, and such services are not expected to duplicate those to

 be provided by any other consultants or advisors.

                             PROFESSIONAL COMPENSATION

           9.   In consideration of the services to be provided by Ducera pursuant to the terms of

 the Engagement Agreement and subject to Court approval, the applicable provisions of the

 Bankruptcy Code, and the Bankruptcy Rules, the Debtors have agreed to the following fee

 structure (the “Fee Structure”):



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                 (a)    Monthly Advisory Fee. In connection with the provision of general
                        investment banking services, the Debtors have agreed to pay Ducera a non-
                        refundable monthly cash fee of $150,000 (the “Monthly Advisory Fee”)
                        due a payable each month during the engagement.

                 (b)    Restructuring Fee. In connection with the provision of Restructuring
                        services, the Debtors have agreed to pay Ducera a restructuring fee of
                        $3,500,000 (the “Restructuring Fee”) earned and payable upon
                        consummation of a Restructuring for the Debtors.

                 (c)    Transaction Fee. In connection with the provision of Transaction services,
                        the Debtors have agreed to pay Ducera a transaction fee equal to 1.75% of
                        the proceeds received by the Debtors’ estates (the “Transaction Fee”)
                        payable upon the consummation of any Transaction.

                 (d)    Financing Fee. In connection with the provision of Financing services, the
                        Debtors have agreed to pay Ducera a financing fee (the “Financing Fee”),
                        which shall be earned upon commitment and payable upon the closing or
                        termination of such Financing, equal to: (i) 1.5% of the face amount of any
                        senior secured debt raised by the Debtors, including, but not limited to,
                        debtor-in-possession Financing, revolving credit and asset backed lending
                        facilities, and exit Financing, provided that the Financing Fee shall be no
                        less than $500,000; and (ii) 3.5% of the face amount of any unsecured debt
                        or equity raised by the Debtors in connection with a Restructuring or
                        Transaction.

 provided that, the Debtors are (1) only obligated to pay Ducera the greater of the Restructuring

 Fee and the Transaction Fee, and not both a Restructuring Fee and a Transaction Fee, and (2) the

 Financing Fee will be credited against the Transaction Fee for the Financing that is provided by

 the Stalking Horse Bidder or such other winning bidder of any Transaction.

           10.   To the extent that the Debtors request that Ducera perform additional services not

 contemplated by the Engagement Agreement or directly related to the services detailed in the

 Engagement Agreement, the Debtors will seek further approval from the Court for any such

 additional services and will set forth, in additional to a description of the additional services to be

 performed, the fees sought to be paid for such services.

           11.   Pursuant to sections 330 and 331 of the Bankruptcy Code and the Bankruptcy

 Rules, Ducera will apply to the Court for final allowance of compensation and reimbursement of


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 expenses (but shall not be required to file monthly or interim fee applications), which may be

 incorporated with a motion seeking approval of any Restructuring, Transaction, or Financing.

 Because Ducera is being compensated under a fixed Fee Structure, the Ducera requests that it not

 be required to submit detailed time records in support of its final fee application.

           12.   I believe that the foregoing fees are reasonable and comparable to those generally

 charged by investment bankers of similar stature to Ducera for comparable engagements, both in

 and out of chapter 11. The Fee Structure summarized above and described more fully in the

 Engagement Agreement is consistent with Ducera’s normal and customary billing practices for

 comparably-sized and complex cases and transactions, both in and out of court, involving the

 services to be provided in connection with chapter 11 cases. Moreover, the fees are consistent

 with and typical of arrangements entered into by Ducera and other investment banking firms with

 the rendering of comparable services to clients such as the Debtors. I believe that the fees are both

 reasonable and market-based.

                              INDEMNIFICATION PROVISIONS

           13.   As part of the overall compensation payable to Ducera under the terms of the

 Engagement Agreement, the Debtors have agreed to certain indemnification and contribution

 provisions described in Annex A to the Engagement Agreement (the “Indemnification

 Provisions”).    As more fully set forth in the Engagement Agreement, the Indemnification

 Provisions provide that the Debtors will indemnify and hold harmless Ducera and its affiliates and

 their respective members, managers, directors, officers, partners, agents, and employees

 (collectively, the “Indemnified Parties”) from and against any losses, claims, expenses (including

 reasonable attorneys’ fees), damages or liabilities (including actions or proceedings in respect

 thereof (collectively, “Losses”) (i) As a result of (a) the Debtors’ actions or failures to act



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 (including statements or omissions made or information provided by the Debtors or their agents)

 in connection with the engagement; or (b) actions or failures to act by an Indemnified Person in

 connection with this engagement with the Debtors’ consent, or otherwise in reasonable reliance on

 the Debtors’ direction, actions, or failures to act in each case in connection with the engagement;

 or (ii) otherwise related to or arising out of the engagement, Ducera’s performance thereof or any

 other services Ducera is asked to provide to the Debtors pursuant to the Engagement Agreement

 (in each case, including activities prior to the date hereof); except that these provisions shall not

 apply to any Losses (nor shall the limitation of liability above apply) to the extent that they are

 finally determined by a court of competent jurisdiction to have resulted from the bad faith, willful

 misconduct, or gross negligence of an Indemnified Person; provided, however, that the Debtors’

 obligations as set forth in the Engagement Agreement and as described in this Paragraph shall be

 subject to the provisions of the Proposed Orders during the pendency of the Chapter 11 Cases.

           14.    The terms of the Engagement Agreement, including the Indemnification

 Provisions, were fully negotiated between the Debtors and Ducera at arm’s length. I believe that

 the Indemnification Provisions, as modified by the Proposed Orders, are customary, reasonable

 and in the best interests of the Debtors, their estates and creditors.

                                 DUCERA’S DISINTERESTEDNESS

           15.    In connection with Ducera’s proposed retention by the Debtor, Ducera undertook

 to determine whether it had any conflicts or other relationships that might cause it not to be

 disinterested, or to hold or represent an interest adverse to the Debtor. The Debtor has provided

 Ducera with a list of the names (collectively, the “Potential Parties in Interest”)4 of individuals



 4
   As may be necessary, Ducera will supplement this Declaration if it becomes aware of a relationship that may
 adversely affect Ducera’s retention in this case or would otherwise require disclosure (any such declaration, a
 “Supplemental Declaration”).


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 or institutions in the following categories: (a) the Debtors and their affiliates; (b) current and

 former officers and directors of the Debtors; (c) banking relationships of the Debtors; (d)

 bankruptcy judges for the United States Bankruptcy Court for the Northern District of Alabama;

 (e) insurers of the Debtors; (f) landlords of the Debtors; (g) the largest customers of the Debtors;

 (h) lenders to the Debtors; (i) litigants against the Debtors; (j) the Debtors professionals; (k) the

 non-Debtors professionals; (l) major equity holders of the Debtors; (m) Governmental regulatory

 agencies; (n) vendors of the Debtors; (o) the fifty largest unsecured creditors of the Debtors; (p)

 unions with contracts with the Debtors; (q) other significant creditors of the Debtors; (r) significant

 competitors of the Debtors; (s) attorneys for the Bankruptcy Administrator; (t) utilities of the

 Debtors; and (u) shippers to and warehousemen for the Debtors. The Potential Parties in Interest

 are set forth on Schedule 1 hereto.5

           16.     Ducera, together with its affiliates, utilizes certain procedures (the “Ducera Firm

 Procedures”) to determine if it has any conflicts or other relationships that might cause it not to

 be disinterested, or to hold or represent an interest adverse to the Debtor. In implementing the

 Ducera Firm Procedures, the following actions were taken to identify parties that may have

 connections to the Debtors and to determine Ducera’s relationship with such parties:

                   (a)      Ducera requested and obtained from the Debtor extensive lists of the
                            Potential Parties in Interest. The list of Potential Parties in Interest which
                            Ducera reviewed is annexed hereto as Schedule 1.

                   (b)      Ducera then compared the names of each of the Potential Parties in Interest
                            to the names in the master electronic database of Ducera’s current and
                            former clients (the “Client Database”). The Client Database generally
                            includes the name of each client of Ducera, the name of each party that is
                            or was known to be adverse to such client of Ducera in connection with the
                            matter in which Ducera is representing such client, the name of each party
                            that has, or has had, a substantial role with regard to the subject matter of

 5
    Ducera’s inclusion of parties in Schedule 1 is solely to disclose Ducera’s conflict search process and is not an
 admission that any party has a valid claim against the Debtors or that any party properly belongs on Schedule 1 or has
 a claim or legal relationship to the Debtors of the nature described in Schedule 1.


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                        Ducera’s retention, and the names of the Ducera professionals who are or
                        were primarily responsible for matters for such clients.

                 (c)    An email was issued to all partners and managing directors at Ducera
                        requesting disclosure of information regarding: (i) any known personal
                        connections between the respondent or Ducera on the one hand, and either
                        the Potential Parties in Interest or the Debtor, on the other hand; (ii) any
                        known connection or representation by the respondent or Ducera of any of
                        the Potential Parties in Interest in matters relating to the Debtor; and (iii) any
                        other conflict or reason why Ducera may be unable to represent the Debtors.

           17.   As a result of the Ducera Firm Procedures, I have thus far ascertained that, except

 as may be set forth herein, upon information and belief, if retained, Ducera:

                 (a)    is not a creditor of the Debtors (including by reason of unpaid fees for
                        prepetition services) or an equity security holder of the Debtors;

                 (b)    is not and has not been, within 2 years before the date of the filing of the
                        petition, a director, officer, or an employee of the Debtors; and

                 (c)    does not have any interest materially adverse to that of the Debtor’s estate,
                        or of any class of creditors or equity security holders, by reason of any direct
                        or indirect relationship to, connection with, or interest in, the Debtor, or for
                        any other reason.

           18.   As can be expected with respect to any professional services firm, Ducera provides

 services to many clients with interests in the Debtors’ Chapter 11 Cases. To the best of my

 knowledge, except as indicated below, Ducera’s services for such clients do not relate to the

 Debtors’ Chapter 11 Cases.

           19.   Further, as part of its diverse practice, Ducera appears in numerous cases and

 proceedings, and participates in transactions that involve many different professionals, including

 attorneys, accountants, and financial consultants, who represent claimants and parties in interest

 in the Debtors’ Chapter 11 Cases. In addition, Ducera has performed in the past, and may perform

 in the future, advisory consulting services for various attorneys and law firms, and has been

 represented by several attorneys and law firms, some of which may be involved in these

 proceedings. At times, Ducera is hired directly by attorneys and law firms to provide services for


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 the benefit of one or more parties, some of whom may not be known to Ducera and/or may be

 parties in interest in these proceedings. Also, persons that may become parties in interest in these

 Chapter 11 Cases, and persons that have business relationships with the Debtors, are competitors

 of the Debtors or that are customers of the Debtors, may be or may have been: (a) parties in interest

 in other bankruptcy cases where Ducera has acted or is currently acting as financial advisor or

 investment banker to the debtors or to other parties in interest; (b) affiliates and/or subsidiaries of

 or creditors of persons by whom Ducera may have been engaged, is currently engaged or may in

 the future be engaged; or (c) affiliates of or entities involved in matters wholly-unrelated to these

 Chapter 11 Cases where Ducera has acted or is currently acting as financial advisor or investment

 banker for creditors and/or steering committees. Lastly, in the ordinary course of business, Ducera

 has relationships with financial advisors, legal advisors and creditors that may be or may become

 involved in these Chapter 11 Cases.

           20.   As a result of working in the investment banking, financial advisory, and

 restructuring industries, professionals at Ducera have professional relationships with certain of the

 disinterested directors of the Debtors. Ducera also has been engaged in the past, and may be

 engaged in the future, by entities whose boards include directors who are serving as directors of

 the Debtors.

           21.   Based on the conflicts search conducted to date, to the best of my knowledge,

 neither I, Ducera, nor any partner or associate thereof, have any connection with the Debtors, their

 affiliates, creditors, or any other parties in interest, their respective attorneys and accountants, the

 Bankruptcy Administrator, any person employed in the Office of the Bankruptcy Administrator,

 or any bankruptcy judge currently serving on the United States Bankruptcy Court for the Northern

 District of Alabama, except as disclosed or otherwise described herein.



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           22.   Ducera has not, does not, and will not, represent any entity other than the Debtor in

 these Chapter 11 Cases.

           23.   As specifically set forth below and in the attached Schedule 2, Ducera has

 relationships with certain creditors and other parties in interest in ongoing matters unrelated to the

 Debtors and these Chapter 11 Cases. None of the representations described herein are materially

 adverse to the interests of the estates. Moreover, pursuant to section 327(c) of the Bankruptcy

 Code, Ducera is not disqualified from acting as Debtor financial advisor merely because it

 represents certain of the Debtors’ creditors or other parties in interest in matters unrelated to these

 Chapter 11 Cases.

           24.   If any new material relevant facts or relationships are discovered or arise, Ducera

 will promptly file a Supplemental Declaration.

           25.   To the best of my knowledge, (a) no commitments have been made or received by

 Ducera with respect to compensation or payment in connection with these Chapter 11 Cases other

 than in accordance with the provisions of the Bankruptcy Code, and (b) Ducera has no agreement

 with any other entity to share with such entity any compensation received by Ducera in connection

 with these Chapter 11 Cases.

           26.   I have read the Application that accompanies this Declaration and, to the best of

 my knowledge, information and belief, the contents of such Application are true and correct.



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           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

 and correct to the best of my information, knowledge and belief.


  Executed on July 27, 2020
                                                      /s/ Bradley C. Meyer
                                                     Bradley C. Meyer
                                                     Partner
                                                     Ducera Partners LLC
                                                     499 Park Avenue, 16th Floor
                                                     New York, New York 10022




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                                     Schedule 1

                         List of Potential Parties in Interest




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                                    LIST OF PARTIES SEARCHED1

                                                          DEBTORS
 Remington Outdoor Company, Inc.
 FGI Holding Company, LLC
 FGI Operating Company, LLC
 Barnes Bullets, LLC
 Remington Arms Company, LLC
 Huntsville Holdings LLC
 TMRI, Inc.
 Remington Arms Distribution Company, LLC
 32E Productions, LLC
 Great Outdoors Holdco, LLC
 RA Brands, L.L.C.
 FGI Finance Inc.
 Outdoor Services, LLC


                                        NON-DEBTOR CORPORATE ENTITIES
 Remington Outdoor (UK) Ltd.
 Remington Licensing Corporation
 Remington Charitable Fund


                                              CREDIT FACILITY LENDERS
 Priority Term Loan Lenders
 Cantor Fitzgerald Securities
 Whitebox GT Fund, LP
 Whitebox Multi-Strategy Partners, LP
 Whitebox Credit Partners, LP
 Whitebox Asymmetric Partners, LP
 Pandora Select Partners, LP


 1Inclusion in a category for search purposes is solely to illustrate the conflicts search process and is not an admission that
 any party has a valid claim against the Debtors or that any party properly belongs in the Debtors’ schedules or has a claim
 or legal relationship to the Debtors of the nature described in the schedules.

                                                               1


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 Whitebox Caja Blanca Fund, LP


 FILO Lenders2
 Ankura Trust Company, LLC
 Funds and accounts managed by Franklin Advisers, Inc.


 Exit Term Loan Lenders
 Ankura Trust Company, LLC
 Funds and accounts managed by Franklin Advisers, Inc.
 JPMorgan Chase Bank, N.A.; funds and accounts managed by JPMorgan Chase Bank, N.A.
 J.P. Morgan Investment Management Inc.; funds and accounts managed by J.P. Morgan Investment
 Management Inc.
 Lord Abbett; funds and accounts managed by Lord Abbett
 Renaissance Investment Holdings Ltd.
 Teachers Retirement Systems of Oklahoma




 2Where available, the names of the individual funds and accounts managed by investment advisors that are holders of the
 FILO Term Loan, the Exit Term Loan, and equity securities have been provided to the Office of the Bankruptcy
 Administrator.

                                                           2


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                  STOCKHOLDERS: KNOWN CURRENT / RECENT STOCKHOLDERS
 Funds and accounts managed by Franklin Advisers, Inc.
 Funds and accounts managed by J.P. Morgan Investment Management Inc.
 Funds and accounts managed by JPMorgan Chase Bank, N.A
 Funds and accounts managed by Lord Abbett
 First Southern Securities, LLC
 Logen Asset Management, L.P.
 Whitebox Multi-Strategy Partners, LP
 Whitebox Asymmetric Partners, LP
 Renaissance Investment Holdings, Ltd.
 Newmark Capital Funding 2013-1CLO
 ACIS CLO 2013-1, Ltd.
 Artisan Credit Opportunities Master Fund LP
 DG Value Partners, LP
 DG Value Partners II Master Fund, LP
 Cantor Fitzgerald & Co.
 Antora Peak Capital Management LP
 Antora Peak Credit Opportunities Fund, LP
 Schultze Master Fund, Ltd.
 Hillmark Funding, Ltd.
 ACIS CLO 2014-3 Ltd.
 ACIS CLO 2014-4 Ltd.
 ACIS CLO 2014-5 Ltd.
 ACIS CLO 2014-6 Ltd.
 BTIG, LLC
 LCM XIII Limited Partnership
 LCM XIV Limited Partnership
 LCM XV Limited Partnership
 LCM XVI Limited Partnership
 LCM XVII Limited Partnership
 LCM XVIII Limited Partnership
 LCM XIX Limited Partnership


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 LCM XX Limited Partnership
 LCM XXI Limited Partnership
 LCM XXII LTD.
 LCM XXIII LTD.
 LCM XXIV LTD.
 LCM XXV LTD.


                               OFFICERS AND DIRECTORS
 Melissa Anderson
 Mark Boyadjian
 Jeff Brown
 Emile Buzaid
 Joanne Chomiak
 Melissa Cofield
 Ken D’Arcy
 Gene Davis
 Billy Hogue
 Rick Kilts
 William Krogseng
 Mark Little
 Matt McCarrol
 Chuck Rink
 Charles Thurman
 Matt Trask
 John Trull
 Brian Wheatley
 Ehsan Zargar




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                                      BANK ACCOUNTS
 Adirondack Bank
 Cadence Bank
 First State Bank
 Wells Fargo Bank


                               COMPANY-HELD EQUITY INTERESTS
 Walmart Inc.


                                     UCC SEARCH NAMES
 Remington Outdoor Company, Inc.
 FGI Holding Company, LLC
 FGI Operating Company, LLC
 Barnes Bullets, LLC
 Remington Arms Company, LLC
 Huntsville Holdings LLC
 TMRI, Inc.
 Remington Arms Distribution Company, LLC
 32E Productions, LLC
 Great Outdoors Holdco, LLC
 RA Brands, L.L.C.
 FGI Finance Inc.
 Outdoor Services, LLC
 Remington Outdoor (UK) Ltd.
 Remington Licensing Corporation
 Remington Charitable Fund


                                   DEBTORS’ PROFESSIONALS
 O’Melveny & Myers LLP
 M-III Advisory Partners, LP
 Akin Gump
 Womble Bond Dickson


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 Shook, Hardy, and Bacon
 Swanson, Martin, and Bell


                          EQUITY OWNERS, POTENTIALLY 5% OR GREATER
 Schultze Master Fund, Ltd.
 Funds and accounts managed by Franklin Advisers, Inc.
 Funds and accounts managed by J.P. Morgan Investment Management Inc. and/or funds and
 accounts managed by JPMorgan Chase Bank, N.A.

                                40 LARGEST UNSECURED CREDITORS
 Pension Benefit Guaranty Corporation
 State of Arkansas, Business Development, Arkansas Economic Development Commission
 City of Huntsville, Alabama
 State of Alabama
 State of Missouri
 St. Marks Powder
 Eco-Bat Indiana LLC
 Art Guild Inc.
 Dasan USA Inc.
 Alliant TechSystems Operations LLC
 QIQIHAR Hawk Industries Co. Ltd.
 MSC Industrial Supply Co.
 Swanson Martin & Bell
 SAP America Inc.
 Helio Precision Inc.
 The Doe Run Company
 DIE-NAMIC Inc.
 Alltrista Plastics LLC
 A M Castle & Co. / Castle Metals
 Decimet Sales Inc.
 Kennametal Inc.
 Brothers & Co.
 Vista Outdoor Sales LLC
 Amark Engineering & Mfg Inc.

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 Geodis Logistics LLC
 Chessgroup
 Continental Traffic Service Inc.
 Dayton Lamina Corp.
 Safari Classics Production
 General Dynamics
 G & R Manufacturing
 National Rifle Association
 Oberg Industries
 Westrock Converting
 Bushnell Inc.
 Electro-Tech Inc.
 Nordic Components Inc.
 Producto Corporation
 Luvata Appleton LLC
 Village of Ilion Treasurer, Utica, NY

 32E Productions, LLC
 Cantor Fitzgerald Securities
 Ankura Trust Company, LLC

 Barnes Bullets, LLC
 Bank of America, N.A.
 Ankura Trust Company, LLC
 Wilmington Trust, National Association
 Cantor Fitzgerald Securities

 FGI Finance Inc.
 Bank of America, N.A.
 Ankura Trust Company, LLC
 Wilmington Trust, National Association
 Cantor Fitgerald Securities




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 FGI Holding Company, LLC
 Bank of America, N.A.
 Ankura Trust Company, LLC
 Wilmington Trust, National Association
 Cantor Fitzgerald Securities


 FGI Operating Company, LLC
 Bank of America, N.A.
 Ankura Trust Company, LLC
 Wilmington Trust, National Association
 Cantor Fitzgerald Securities

 Great Outdoors Holdco, LLC
 Cantor Fitzgerald Securities
 Ankura Trust Company, LLC

 Huntsville Holdings Company, LLC
 Ameritas Life Insurance Corporation

 Huntsville Holdings LLC
 Cantor Fitzgerald Securities
 Ankura Trust Company, LLC

 Outdoor Services, L.L.C.
 Caterpillar Financial Services Corporation

 Outdoor Services LLC
 Internal Revenue Service

 Outdoor Services, LLC
 Cantor Fitzgerald Securities
 Ankura Trust Company, LLC




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 RA Brands, L.L.C.
 Bank of America, N.A.
 Ankura Trust Company, LLC
 Wilmington Trust, National Association
 Cantor Fitzgerald Securities


 Remington Arms Company, LLC
 Air Liquide Industrial U.S. LP
 Bank of America, N.A.
 Ankura Trust Company, LLC
 Wilmington Trust, National Association
 NMHG Financial Services, Inc.
 HYG Financial Services, Inc.
 J.R. Automation Technologies, LLC
 Cantor Fitzgerald Securities


 Remington Arms Company, Inc. and Herkimer County Sheriff
 Richard Keith Caister and d/b/a RKC Products
 The Edmunds Manufacturing Company and d/b/a Edmunds Gages


 Remington Arms Company, Inc.
 Regions Commercial Equipment Finance, LLC


 Remington Arms Distribution Company, LLC
 Wilmington Trust, National Association
 Bank of America, N.A.
 Ankura Trust Company, LLC
 Cantor Fitzgerald Securities
 Remington Charitable Fund
 [No Results]


 Remington Licensing Corporation
 [No Results]

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 Remington Outdoor (UK) Ltd.
 [No Results]


 Remington Outdoor Company, Inc.
 Wilmington Trust, National Association
 Bank of America, N.A.
 Ankura Trust Company, LLC
 Cantor Fitzgerald Securities


 Remington Outdoors Company, Inc.
 Ellison Technologies


 TMRI, Inc.
 Bank of America, N.A.
 Ankura Trust Company, LLC
 Wilmington Trust, National Association
 Cantor Fitzgerald Securities


                                      LETTERS OF CREDIT
 Geodis Logistics LLC


                             FREIGHT BROKERS AND COMMON CARRIERS
 CTSI
 Continential Traffic Service, Inc.


                                          INSURANCE
 Sompo
 Berkshire Hathaway
 Greewich Insurance Company
 XL Insurance America, Inc.
 National Fire & Marine Insurance
 Ironshore

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 Hiscox/StarStone/ACT
 AIG
 Starr Aviation
 Indemnity Insurance Company of North America
 Chubb
 Endurance
 Markel
 Axis
 Navigators
 Beazley
 Berkley Pro
 US Specialty
 WorldSource
 XL
 Berkley Asset Protection
 Illinois Union Insurance Co. (Chubb)
 James River Insurance Company
 North American Capacity Insurance Company
 Westchester Surplus Lines Insurance Company
 ACE Property & Casualty Insurance Company


                                            LANDLORDS
 PanCal Southhaven One 127, LLC
 First Stamford Place SPE L.L.C. and Merrifield First Stamford SPE L.L.C.
 Stout Industral Properties, LLC
 PAM Industrial Properties, LLC
 Norma J. Allen
 Sturgis Economic Development Corporation
 BCR Enterprises, Ltd.
 Glassell Family LLC
 FW Properties, L.L.C.
 Eagle Bulk Shipping International (USA) LLC (Subtenant)



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                                 LITIGATION (PENDING / POTENTIAL)
 United Mine Workers of America, Local Union 717
 U.S. Environmental Protection Agency
 Chemetco, Inc. Superfund Site
 Layne Kay and Emily Kay v. Barnes Bullets (Utah Supreme Court, Appellate Case No. 2018-0821-SC)
 Lori Evans (USDC, E.D. Ark., Case No. 4:19-cv-801)
 Sharron Evars (USDC, N.D. Ala., Case No. 5:20-cv-0705)
 John Coburn (EEOC Case No. 493-2020-00206)
 Alison Manning (EEOC Case No. 420-2020-01534)
 Mollie Todd (Smalls Claims Court, District Court of Madison County, Ala., Case No. 47-SM-2019-
 000969.00)
 Worker’s Comp Litigant: Floyd Brothers (Case No. G807557)
 Workers Comp Litigant: Avery Gardner (Case No. F701796)
 Workers Comp Litigant: Johnathan Oliver (Case No. G602108)
 Workers Comp Litigant: Anthony Webster (Case No. G70625)
 Workers Comp Litigant: Chris Strong (Case No. G703571)
 Workers Comp Litigant: Richard Zona (Case No. 985039)
 Workers Comp Litigant: Ruth Suarez (Case No. 300084274)
 Workers Comp Litigant: Corey Castleman (Case No. 201356687)
 Workers Comp Litigant: Nicholas Croan (Case No. 16-014763)
 Workers Comp Litigant: Monica Czarrunchick (Case No. G0743503)
 Workers Comp Litigant: Jason Lape (Case No. G1328832)
 Workers Comp Litigant: Colleen Smith (Case No. G0634470)
 Workers Comp Litigant: Colleen Stanburg (Case No. 60309132)
 Workers Comp Litigant: Susan Barger (Case No. 60703435)
 Workers Comp Litigant: Stephen Brown (Case No. 60500499)
 Workers Comp Litigant: Adam Boepple (Case No. G1851684)
 Workers Comp Litigant: Kim Faubert (Case No. GL450563)
 Workers Comp Litigant: Kevin Trevor (Case No. G1067691)
 Workers Comp Litigant: Matthew Davis (Case No. 60805819)
 Workers Comp Litigant: Lois Sill (Case No. G0490071)
 Workers Comp Litigant: Kerry Atwood (Case No. 60703961)
 Workers Comp Litigant: Scott Miller (Case No. 60607085)

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 Workers Comp Litigant: Raymond Wiegand (Case No. 60506411)
 Workers Comp Litigant: Todd Zielinski (Case No. G2063301)
 Workers Comp Litigant: Eugene Smith (Case No. 60608514)
 Workers Comp Litigant: Larry Hallenbeck (Case No. G2210819)
 Workers Comp Litigant: John McKusick (Case No. G1975913)
 Workers Comp Litigant: Jessica Boepple (Case No. G1583518)
 Workers Comp Litigant: Basilio Santiago (Case No. G1581701)
 Workers Comp Litigant: Douglas Pedrick (Case No. G2211672)
 Workers Comp Litigant: Eric True (Case No. G1702070)
 Workers Comp Litigant: Cynthia Uhlig (Case No. G1975103)
 Workers Comp Litigant: Wade Haponski (Case No. G2212070)
 JoAnn Harris (USDC, W.D. Okla., Case No. 5:15-cv-1375) / USCA, 8th Circuit
 Ryan Carr (USDC, W.D. Okla., Case No. 5:16-cv-1153)
 Cody Shearouse (USDC, S.D. Ga., Case No. 4:17-cv-0107)
 Vincent Tate (Circuit Court for the County of Henrico, Va., Case No. 087CL17004633-00)
 Roger Stringer, (USDC, S.D. Miss., Case No. 2:18-cv-0059) USCA, 5th Circuit
 Kimberly Hyder, (USDC, S.D. Miss., Case No. 2:18-cv-0059) USCA, 5th Circuit
 Zachary Stringer, (USDC, S.D. Miss., Case No. 2:18-cv-0059) USCA, 5th Circuit
 Sharon Teague and Randall Teague (Estate of Mark Randall Teague) (USDC, D. Mont., Case No.
 9:18-cv-0184)
 Brett Nielsen (USDC, D. Utah, Case No. 2:20-cv-0011)
 Richard Clay (Estate of) (Circuit Court of St. Clair County, Ala., Case No. CV2018-900221)
 Alyssa Scott (Estate of) (USDC, N.D. Ala., Case No. 19-cv-1891)
 Steven Wharton (San Diego County Superior Court, State of California, Case No. 37-2019-
 000121144-CU-PL-CTL)
 Miguel Angeles (Santa Barbara County Superior Court, State of California, Case No. 18-cv-4922)
 Travis Walton (Los Angeles County Superior Court, State of California, Case No. BC723793)
 Precious Sequin (USDC, E.D. La., Case No. 2:14-cv-2442) USCA, 5th Circuit
 Primus Group, LLC (USDC, S.D. Ohio, Case No. 2:19-cv-3450) USCA, 6th Circuit
 Donna L. Soto (Estate of Victoria L. Soto) v. Bushmaster Firearms International, LLC, et al. (Superior
 Court for the Judicial District of Fairfield, Bridgeport, Conn., Case No. FBT-CV15-6048103-S, Case
 Transferred to UWY-CV15-6050025-S)
 Ian Hockley and Nicole Hockley (Estate of Dylan C. Hockley) v. Bushmaster Firearms International,
 LLC, et al. (Superior Court for the Judicial District of Fairfield, Bridgeport, Conn., Case No. FBT-
 CV15-6048103-S, Case Transferred to UWY-CV15-6050025-S)

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 William D. Sherlach (Estate of Mary Joy Sherlach) v. Bushmaster Firearms International, LLC, et al.
 (Superior Court for the Judicial District of Fairfield, Bridgeport, Conn., Case No. FBT-CV15-
 6048103-S, Case Transferred to UWY-CV15-6050025-S)
 Leonard Pozner (Estate of Noah S. Pozner) v. Bushmaster Firearms International, LLC, et al.
 (Superior Court for the Judicial District of Fairfield, Bridgeport, Conn., Case No. FBT-CV15-
 6048103-S, Case Transferred to UWY-CV15-6050025-S)
 Gilles J. Rousseau (Estate of Lauren G. Rousseau) v. Bushmaster Firearms International, LLC, et al.
 (Superior Court for the Judicial District of Fairfield, Bridgeport, Conn., Case No. FBT-CV15-
 6048103-S, Case Transferred to UWY-CV15-6050025-S)
 David C. Wheeler (Estate of Benjamin A. Wheeler) v. Bushmaster Firearms International, LLC, et al.
 (Superior Court for the Judicial District of Fairfield, Bridgeport, Conn., Case No. FBT-CV15-
 6048103-S, Case Transferred to UWY-CV15-6050025-S)
 Neil Heslin and Scarlett Lewis (Estate of Jesse McCord Lewis) v. Bushmaster Firearms International,
 LLC, et al. (Superior Court for the Judicial District of Fairfield, Bridgeport, Conn., Case No. FBT-
 CV15-6048103-S, Case Transferred to UWY-CV15-6050025-S)
 Mark Barden and Jacqueline Barden (Estate of Daniel G. Barden) v. Bushmaster Firearms
 International, LLC, et al. (Superior Court for the Judicial District of Fairfield, Bridgeport, Conn., Case
 No. FBT-CV15-6048103-S, Case Transferred to UWY-CV15-6050025-S)
 Mary D’Avino (Estate of Rachel M. D’Avino) v. Bushmaster Firearms International, LLC, et al.
 (Superior Court for the Judicial District of Fairfield, Bridgeport, Conn., Case No. FBT-CV15-
 6048103-S, Case Transferred to UWY-CV15-6050025-S)
 Natalie Hammond v. Bushmaster Firearms International, LLC, et al. (Superior Court for the Judicial
 District of Fairfield, Bridgeport, Conn., Case No. FBT-CV15-6048103-S, Case Transferred to UWY-
 CV15-6050025-S)
 Pollard v. Remington (USCA, 8th Circuit)


                                           TAXING AUTHORITIES
 Ohio Treasurer of State, Columbus, Ohio
 Delaware Division of Corporations, Dover, Delaware
 Alabama Department of Revenue, Montgomery, Alabama
 Franchise Tax Board, Sacramento, California
 Tennessee Department of Revenue, Nashville, Tennessee
 North Carolina Department of Revenue - W/H
 Clark County Treasurer, Jeffersonville, Indiana
 La Porte County Treasurer, Michigan City, Indiana
 North Carolina Secretary of State, Raleigh, North Carolina
 James W. Wilburn III, Treasurer, Lenoir City, Tennessee
 Loudon County Trustee, Loudon, Tennessee

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 North Carolina Division of Motor Vehicles, Raleigh, North Carolina
 Randolph County Treasurer, Chester, Illinois
 Receiver of Taxes, Mohawk, NY
 Village of Ilion Treasurer, Ilion, NY
 Desoto County, Tax Collector, Hernando, Mississippi
 Treasurer of Hancock County, Findlay, Ohio
 Lonoke County Collector, Lonoke, Arkansas
 Marion County Collector, Yellville, Arkansas
 Benton County Collector, Bentonville, Arkansas
 Office of the Fayette County Sheriff, Lexington, Kentucky
 Crittenden County Sheriff, Marion, Kentucky
 Douglas County Tax Commissioner, Douglasville, Georgia
 Pinellas County Tax Collector, Seminole, Florida
 Juab County Assessor, Nephi, Utah
 Lafayette County Collector, Lexington, Missouri
 Madison County Tax Collector, Huntsville, Alabama
 Butler County Sheriff, Morgantown, Kentucky
 Collector of Revenue, Springfield, Missouri
 Rockingham County Tax Department, Charlotte, North Carolina
 Wake County Department of Revenue, Raleigh, North Carolina
 Alabama Department of Revenue, Birmingham, Alabana
 City of Huntsville, Huntsville, Alabama
 Arizona Department of Revenue, Phoenix, Arizona
 State of Arkansas, Little Rock, Arkansas
 State of California, Sacramento, California
 Colorado Department of Revenue, Denver, Colorado
 State of Connecticut, Hartford, Connecticut
 Florida Department of Revenue, Tallahassee, Florida
 Georgia Sales and Use Tax Division, Atlanta, Georgia
 State of Hawaii, Honolulu, Hawaii
 Idaho State Tax Commission, Boise, Idaho
 Illinois Department of Revenue, Springfield, Illinois
 Indiana Department of Revenue, Indianapolis, Indiana

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 State of Iowa Treasurer, Des Moines, Iowa
 Kansas Department of Revenue, Topeka, Kansas
 Kentucky State Treasurer, Frankfort, Kentucky
 Louisiana Department of RevenueBaton Ruoge, Louisiana
 Maine Bureau of Taxation, Augusta, Maine
 Maryland Comptroller of the Treasury, Baltimore, Maryland
 Massachusetts Department of Revenue, Boston, Massachusetts
 State of Michigan, Lansing, Michigan
 Minnesota Department of Revenue, St. Paul, Minnesota
 Mississippi Tax Commission, Jackson, Mississippi
 Missouri Department of Revenue, Jefferson City, Missouri
 Nebraska Department of Revenue, Lincoln, Nebraska
 Nevada Department of Taxation, Las Vegas, Nevada
 State of New Jersey, Trenton, New Jersey
 New Mexico Taxation and Revenue Department, Santa Fe, New Mexico
 New York State Sales Tax, Albany, NY
 North Carolina Department of Revenue, Raleigh, North Carolina
 State of North Dakota, Bismarck, North Dakota
 Treasurer of State, Columbus, Ohio
 Oklahoma Tax Commission, Oklahoma City, Oklahoma
 Pennsylvania Department of Revenue, Harrisburg, Pennsylvania
 State of Rhode Island, Providence, Rhode Island
 South Carolina Department of Revenue, Columbia, South Carolina
 South Dakota Department of Revenue, Sioux Falls, South Dakota
 Texas State Treasurer, Austin, Texas
 Utah State Tax Commission, Salt lake City, Utah
 Vermont Department of Taxes, Montpelier, Vermont
 Virginia Department of Taxation, Richmond, Virginia
 State of Washington Department of Revenue, Seattle, Washington
 Department of Tax & Revenue, Charleston, West Virginia
 Wisconsin Department of Revenue, Milwaukee, Wisconsin
 Wyoming Department of Revenue, Cheyenne, Wyoming
 District of Columbia Government, Washington, DC

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 Alcohol Tobacco Tax & Trade Bureau. Cincinnati, Ohio


                                          PROMISSORY NOTES
   Industrial Row Realty LLC (as successor-in-interest to H&R 1871, LLC)
   L R Nash (SMK) Ltd.
   Remington Arms Company, LLC
                                      OTHER EQUITY INTERESTS
  Remington Licensing Corporation
  Sporting Activities Insurance Limited
  Wal-Mart Stores, Inc.




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                                            UTILITY PROVIDERS
 AAA Disposal Services Inc. (Disposal)
 ADCO Companies Ltd. (Boiler Room / Steam)
 Airgas USA LLC (Gas)
 AT&T (Phone at all Remington Locations)
 Centracom (Telephone)
 CenturyLink (Telephone)
 CenturyLink Communications LLC (Telephone)
 City of Huntsville Utilities (Huntsville, Alabama) (Electricity)
 City of Lexington, Missouri (Water / Sewer)
 Constellation NewEnergy - Gas Division
 Cox Communications (Internet Services)
 Duke Energy (Electricity)
 Empire District (Electricity)
 Evergy Inc. (Energy)
 First Electric Cooperative Corp. (Electricity)
 Frontier Communications (Internet / Telephone)
 Herkimer County Sewer District (Mohawk, NY) (Sewer)
 Ilion Water Department (Ilion, NY) (Water)
 Intercall (Atlanta, GA) (Telephone)
 Jay Mecham’s Country Garbage (Mona, Utah) (Landfill Usage)
 Madison Electric Inc. (Madison, Alabama) (Electricity)
 Mail Finance Inc. (Dallas, Texas) (Electricity)
 Mona City (Mona, Utah) (Water / Sewer)
 National Grid (Gas)
 Piedmont Natural Gas Company (Dallas, Texas) (Gas)
 Rocky Mountain Power (Electricity)
 Spectrum (Cable TV and Internet)
 Sprague Operating Resources LLC (Electricity / Gas)
 Town of Mayodan (Mayodan, NC) (Water / Sewer)
 Verizon (Telephone)
 Village of Ilion, Light Department (Ilion, NY) (Electricity)


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 Waste Management (Carol Stream, Illinois) (Waste Management)
 Waste Management of Alabama North (Huntsville, Alabama) (Waste Management)
 Waste Management of New York - Utica (Waste Management)
 Windstream Corporation (Louisville, Kentucky) (Data Networking / Communications)


                             ALABAMA BANKRUPTCY JUDGES (N.D. ALA.)
 James J. Robinson
 Tamara O. Mitchell
 Jennifer H. Henderson
 Clifton R. Jessup, Jr.
 D. Sims Crawford


                   BANKRUPTCY ADMINISTRATOR / TRIAL ATTORNEYS (N.D. ALA.)
 Thomas Corbett (Bankruptcy Administrator)
 Richard Blythe (Assistant Bankruptcy Administrator)
 Jon Dudeck (Deputy in Charge)
 Tazewell Shepard (U.S. Trustee’s Office, Northern Division)
 Judith Thompson (U.S. Trustee’s Office, Northern Division)
 Michele T. Hatcher (U.S. Trustee’s Office, Northern Division)


                                     EXECUTORY CONTRACTS
                          (FROM SPREADSHEET DATED 4/27/20 FROM CLIENT)
 Windstream
 Microsoft EA & SCE
 Rimini Street
 Paymetric
 BAH (formerly Morphick)
 Panaya
 DPSI
 ERP Maestro
 DarkTrace
 NetBrain
 SAP / SuccessFactors

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 SAP C4C
 SEI
 AT&T
 CISCO SmartNet (via CDW)
 Segra (formerly Data Chambers / Northstate)
 Sunview Software
 Illinois Department of Natural Resources
 National Skeet Shooting Association
 Widen Enterprise Inc.
 MODX System
 NRA Publications
 Oracle / Bronto
 Magento / Adobe
 Union Sportsmen’s Alliance
 National Wild Turkey Federation
 Boone & Crockett Club
 Rocky Mountain Elk Foundation
 Western Hunting & Conservation Expo
 Full Curl Society
 Sportsman for Fish & Wildlife
 Ducks Unlimited
 Outdoor Sportsmans Group
 Heartland Waterfowl
 Whitetails Unlimited
 Phesants Forever
 Delta Waterfowl
 Independent Hunting LLC
 Zmags Corp
 Ruffed Grouse Society
 Safari Classic Productions
 Sportscar Vintage Racing Association
 National Machinery
 Siemens

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 Video Jet
 Westrock
 Sprague
 Toshiba
 SAP Success Factors
 RSR (Quemetco EcoBat) Lead
 Doe Run Lead
 Gopher Resources - Lead
 Cintas
 G4S
 Diversified Maintenance-RWS, LLC
 Niagara LaSalle
 Precision Kidd
 Eaton Steel


                           ADDITIONAL EXECUTORY CONTRACTS
                       (FROM SPREADSHEETS DATED 5/7/20 AND 5/11/20)
 SOURCING - Direct (Raw Materials)
 RSR (Quemetco (EcoBat))
 Doe Run
 Gopher Resources
 Sanders
 Aurubis
 General Dynamics-OTS
 LyondelBassel

 SOURCING - Direct (Not Raw Materials)
 National Machinery
 Westrock
 Manth Brownell

 SOURCING - Indirect
 Sprague Operating Resources
 G4S
 Siemens (Fire Alarm (Lonoked))
 Diversified Maintenance
 Pitney Bowes
 Stanley Security
 Les Olson (Barnes CyberSecurity)

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 Aagard Group
 Airgas
 Alabama Equipment
 American Food & Vending
 American Safety & Health Institute (HSI)
 Applied Combustion and Equipment
 Arkansas Copier Center
 Carlson Wagonlit Travel
 Cintas
 CoreTrust
 Diversified Maintenance
 Mail Finance / Ed & Ed Business Technology
 Instream Environmental
 Les Olson (MONA Barnes CyberSecurity)
 LiftOne
 Meridian IT
 MSC Industrial Supply
 National Machinery
 Nationwide Power
 Otis Elevator Company
 Pitney Bowes
 Schnitzer Southeast
 Security Equipment Inc.
 Shred-It
 Siemens
 SiteHawk
 Southern Sweepers
 Sprague Operating Resources
 Stanley Security
 Trane Building Services
 Vanguard Cleaning Systems
 Videojet
 Waste Management
 Wiese USA
 Stryker Tech LLC

 SALES - Retail Customers (Domestic)
 Mills Fleet Farm
 Academy Sports & Outdoors
 Bass Pro - Cabela’s
 Bi-Mart
 Dunham’s Sporting Goods


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 Mattoon Rural King
 Midway Arms
 Pacific Flyway
 Scheel’s Consolidated
 Big 5 Corporation


 SALES - Wholesale Distributors (Domestic)
 All State Police Equipment
 Bailey’s Firearms Country
 Bailey’s House of Guns
 Barney’s
 Craig’s Firearms
 Davidson’s
 Ed’s Public Safety
 Firing Line
 H&H Gunrange
 Kiesler
 Lawmen Supply Company
 Lawmens’ & Shooters
 Lawmen’s Distribution
 LC Action
 Lou’s Police Distributors
 Michigan Police Equipment
 Proforce
 Smyrna
 Surplus Arms & Ammo
 Targetmaster
 The Attic
 Town Police Supply
 Witmer Associates
 Galls
 Bangers LP
 Big Rock Sports, LLC

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 Bill Hicks & Co., Ltd.
 Camfour, Inc.
 Davidson’s, Inc.
 Grice Wholesale
 Hicks Inc.
 Lew Horton Distributing Co., Inc.
 RSR Group
 Sports South, LLC
 VF Grace, Inc.
 Williams Shooters Supply Inc.
 Zanders Sporting Goods


 SALES - Sales Reps (Domestic)
 Maschmedt & Associates
 Murski Breeding Sales, Inc.
 ProActive Sales & Marketing


 SALES - Wholesale Distributors (Foreign)
 A&A Dealers
 AS Oliva
 Abaco Hardware
 Aekaphatt Firearms Ltd.
 Al Hadaf
 Arcocity
 Armaq
 Artemis
 Artemix
 Astroclassic
 B&B Target
 Bell
 Bignami
 Borchers
 Bowmac

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 BRS
 Cabela’s
 Cairo
 Casa El Cazador
 CB Servis Centrum
 Central Dealers
 Chasse Et Loisirs
 Civil Arms
 Comercial Palmera
 Delta Firearms
 Diamantopoulos
 Discovery
 Dolphin Gun Company
 Dossul
 Edelweiss
 Ellwood Epps
 Europa
 Fancesa
 Faulkners
 Firearms Training Institute
 Formalito
 Full Metal
 GDV
 GP Interarms
 General Dynamics
 Glaser
 Glenn’s Ammo
 Gowen
 Gravel
 Grunig
 Helmut Hoffman - Germany
 Helmut Hoffman - Austria
 Hokuto Trading

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 Horst Trigatti
 Hubertech
 Importadora Daher
 Izhevsky
 Jaguar Gruppen
 Jakt & Friluft
 Juan Ruiz de Velazco (Vega Seis)
 Krometal
 Kulim Arms
 Lawry Shooting Sports
 LDS Long Distance Services
 Le Baron
 Leonowens
 Magne Landro
 Magnum
 Mario Ludwig
 Meguro Gun Shop
 Midarms
 Municiones
 Nippo Kogyo
 Norma AS
 Norma Precision AB
 Normark
 North Sylva
 Omnium Celdonien
 Outdoor Brands
 Parabellum
 PB Dionisio
 Peche
 Pronature
 Purnavu Muiza
 Raja Firearms
 Raytrade

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 Raytrade UK Ltd
 Redl Sports
 Riflecraft
 Rivolier
 RUAG Germany
 Safari & Outdoor
 Safari Master
 Sail Outdoors
 Sako
 Sarsilmaz
 Shooting Supply Ltd.
 Skenco Europe
 Skenco International
 Soboce
 Sofarca
 Sologne
 Special Tactical
 Star Force
 Tankeeraq
 Thai National
 The Gunshop
 Topth
 Veidihornid
 Velkoobchod Zbrane
 West Gun Trading Co.
 Wholesale Sports


 SALES - Brokers (Foreign)
 ARLE
 Atlantic Diving Supply
 Aquaterro
 Aquila
 Ascim

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 Azimuth Defense
 B&B Target
 BU Combines
 Banzai SPOL S.R.O.
 Cairo
 Century Dynamics
 Clemente Serna Barrera
 Continental Defence Solutions
 Cornerstone Technica
 Counter Measures Technologies
 Droo Tactical Trading
 DSE Corporation
 Dukef Holdings
 DW Global
 Eton International
 Eurooptic
 G4 Solutions & Research
 Glaser Trading
 Glaucus APS
 Global Nepal Trading & Consultants
 Goldbelt Wolf
 Gravel Agency
 Hantaurus Shot OY
 Helmut Hoffman - Germany
 Hyphen Industrial
 Iberfix
 Igniter
 Importadora
 K Tree Corp.
 Korea Infomax Science
 Kornnarath Ltd.
 LE&M Distributors
 Leonowens

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 LHB Ltd.
 MG Suber & Associates
 Magne Landro AS
 Magnum Vadasz
 Milipol ZRT
 Mission Equipment Sweden
 Naphantorn Limited Partnership
 Nathat
 PB Dionisio
 Poligoni Shenjetarise Katana
 Priamos s Coumas
 Prof Investment Co.
 Promoteq Sandviken
 Quintilio Chesi E Hijos
 Rainier Arms
 Rein International Group
 Rescomp
 Richmond Global Traders
 Riflecraft
 Rigg AS
 Rivolier SAS
 Royal Defence
 RUAG Ammotec
 SEEEP
 Sirien SA
 Tactical Power
 Tactical Trading
 Thai National Trading Co.
 UMO
 Val Redena
 W.H. Brennan
 XTEK



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 SALES - Foreign Governments
 Republic of Tunisia
 Royal Defence, for Resale to Thailand


 SALES - U.S. Government
 US Department of Homeland Security - FLETC
 US Department of Justice
 US Army Contracting Command - Foreign Military Sales
 NSWC
 US Department of Energy
 US21 Inc. / US Department of State
 US Department of Agriculture - FS
 US SOCOM - United States Special Operations Command
 US Department of Homeland Security - ICE
 US Department of Homeland Security - USSS
 US Department of State
 FRS


 LICENSING - Outbound Trademark Licenses
 Ashgrove Marketing
 Baschieri & Pellagri
 Buck Knives
 Coastal Pet
 Crosman / Velocity Outdoor
 Deperate Enterprises
 Gator Cases
 High Performance Designs
 IRIS
 Nippo Kogyo
 Open Roads Brands
 Outdoor Cap
 PEM America
 SMK

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 Smoky Mountain Knife Works
 Southern Fried Cotton
 Top Promotions
 Vintage Editions


 LICENSING - Inbound Licenses
 Haas Outdoors, Inc.
 Jordan Outdoor Enterprises, Ltd.
 MagPul Industries Corp.
 National Machinery
 Ducks Unlimited
 Norgon, LLC
 Silvers, Robert
 Advanced Technology International USA, LLC
 Veil Camo LLC


 MARKETING - TV Sponsorship Agreements
 Heartland Waterfowl
 Independent Hunting
 Outdoor Sportsman Group


 MARKETING - Marketing Transaction Agreements
 NRA
 Delta Waterfowl
 Full Curl Society
 National Wild Turkey Federation
 Outdoor Sportsman Group/KSE Sportsman
 Pheasants Forever
 Rocky Mountain Elk Foundation
 Rocky Mountain Elk Foundation (1st amendment)
 Ruffed Grouse Society
 SportscarVintage Racing Association
 Western Hunting & Conservation Expo

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 Sportsmen for Fish & Wildlife
 Whitetails Unlimited


 MARKETING - Event Sponsorship Agreements
 None


 MARKETING - Conservation Sponsorship Agreements
 Ducks Unlimited
 CONSUMER SERVICE - Rebate Services
 Velocity


 CONSUMER SERVICE - Warranty and Repair Services
 Wild West Guns
 Sprague’s Sports Inc.
 J & G Gunsmithing
 Higher Power Outfitters Inc.
 Scheels All Sport
 Mann & Son Sporting Goods
 Paducah Shooters Supply
 Williams Gun Sight
 Dick Williams Gun Shop, Inc.
 Alhman’s Inc.
 B&B Arms
 Skip’s Gun Shop
 Wild West Guns
 The Gunworks of Central New York
 Sports World
 Allison & Carey Gunworks
 Southland Gun Works, Inc.
 Scheels All Sport
 Triton Arms
 Carter Gunsmithing



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 CUSTOMER SERVICE - Co-Op Program
 None
 FULFILLMENT - Logistics and Warehousing
 Geodis
 Continental Traffic Service
 DG Advisor LLC
 Livingston
 GCB Glover Customs Brokers


 FULFILLMENT - Shipping
 CTSI
 FedEx Transportation Services
 Manitoulin Transport
 Old Dominion Freight Line
 Saia Inc.
 YRC Inc.
 Swift Transportation
 United Parcel Service
 Ozark Motor Linds (Ozark Motor Lines)
 A. Duie Pyle
 Teals Express
 XPO Logistics


 COMPLIANCE - Environmental Health & Safety
 Cintas
 HSI
 Safety Kleen
 Siemens
 Site Hawk
 VSC
 Waste Management
 ACE Industries
 Advantage

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 Air Gas
 ALX
 American Equipment Inc.
 Aon
 Apex Engineering
 Bell
 Bronstein Container
 Brown Randall
 Call-Em-All
 Cell Mark
 Clean Harbors
 Concentra
 Confidata
 CTEH
 David’s Fire Equipment
 Dr. McFadden
 ECCI
 Enersolv
 Environmental Resource Center
 Environmental Works
 Fastenal
 Foster Brothers
 Frakes
 FTN
 G4S
 Gallagher Bassett
 Gellco
 GHD
 Grainger
 HazMat
 Heritage
 Howa
 Hoya

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 Independent Electric
 Industrial Health Council
 Industrial Hearing
 Instream
 Interplex
 JJKeller Online
 Johnson Contracting
 K Safety
 Koorsen
 K-ter
 L&T Health Systems
 Life Science Labs
 Lion Technologies
 LSC
 Marx Optical
 Melfie’s Shoes
 Metalico
 MJ Communications
 Modern Shoes
 MSC
 MT2
 Northern Safety
 One Stop
 Opaque Smoke School
 Paper & Dust Pros
 Pollution Control Incorporated
 Shoe Maker
 Simplex Grinell
 Slocum Dickson
 Sound Choice
 Southern Optical (switching vendor)
 Spohns
 Terrell Technical

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 Thompson Tractor
 Tim Crumb
 TK Group
 Utah Fire Equipment
 Utah Manufacturing Association
 Utah Safety Council
 WCF Insurance
 Work Wear


 COMPLIANCE - Firearms, Ammo and Sales
 Navex Global
 Amber Roads
 Orchid Advisors


 FINANCE - Insurance Brokerage
 Aon


 FINANCE - Insurance Policies
 None


 INFORMATION TECHNOLOGY - Software
 SAP
 Microsoft
 DarkTrace
 Windstream


 SALES - International Warehouse and Distribution Agreements
 Borchers, S.A.
 Helmut Hofmann GMBH
 Jaguar Gruppen A/S
 Midarms, SPRL
 Norma Precision AB
 Raytrade Pty Ltd.

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 Raytrade UK Limited
 Sako Ltd.
 Skenco Europe, Kft.
                                               LEASES
 Norma J. Allen
 Sturgis Economic Development Corporation
 FW Properties, LLC
 Toyota Industries Commercial Finance
 HYG Financial Services
 BCR Enterprises Ltd.
 Empire State Realty Trust (ESRT) First Stamford Place SPE LLC
 Eagle Bulk Shipping International (USA) LLC
 GEODIS Logistics LLC
 Arkansas Copier (De Large)
 Safety Kleen
 Wiese Lifts
 Mail Finance Inc.
 Stout Industrial (Tom Stout and Pam Stout)
 PAM Industrial Properties
 Applied Combustion
 MacCopy
 Great America Financial/Toshiba Business Solutions
 Glassell Family LLC
 S&K Industries
 PanCal Southhaven One 127, LLC




                             OTHER PARTIES SUBMITTING LOI’S
 (CONFIDENTIAL)




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                                              Schedule 2

                             Potential Connections or Related Parties

           (1)   The State of South Dakota is a taxing authority of the Debtor. The South Dakota
                 Investment Council (a/k/a SDIC) is a shareholder of a current client of Ducera in
                 an unrelated M&A transaction.

           (2)   The State of California is a taxing authority of the Debtor. The California Public
                 Utilities Commission (a/k/a CPUC) is a current client of Ducera in an unrelated
                 advisory engagement in connection with the PG&E chapter 11 cases.

           (3)   Franklin Advisers, Inc. and its managed accounts (collectively, “Franklin”) is a
                 (i) lender under the Debtors’ prepetition FILO Term Loan Agreement; (ii) lender
                 under the Debtors’ Exit Term Loan Agreement; and (iii) current or recent
                 stockholder of the Debtors. Franklin is a historical and current client of Ducera in
                 unrelated restructuring situations, as well as in connection with advising certain
                 First Lien Lenders of the Debtors in connection with the Debtors’ 2018 chapter 11
                 cases under In re Remington Outdoor Co., Inc., Case No. 18-10684 (BLS) (Bankr.
                 D. Del.) (the “2018 Chapter 11 Cases”).

           (4)   The Cincinnati High Yield Desk of J.P. Morgan Investment Management Inc., as
                 investment manager and authorized agent of certain discretionary accounts (“JPM-
                 CHY”) is a current or recent stockholder of the Debtors. JPM-CHY is a historical
                 and current client in unrelated restructuring situations, as well as in connection with
                 advising certain First Lien Lenders of the Debtors in connection with the 2018
                 Chapter 11 Cases.

           (5)   The Indianapolis High Yield Desk of JPMorgan Investment Management Inc., as
                 investment manager and authorized agent of certain discretionary accounts (“JPM-
                 IHY”) is a current or recent stockholder of the Debtor. JPM-IHY is a historical
                 and current client in unrelated restructuring situations.

           (6)   Whitebox Advisors LLC, as investment manager and authorized agent of certain
                 discretionary accounts (“Whitebox”) is a (a) lender under the Debtors’ prepetition
                 Priority Term Loan Credit Agreement; and (b) current or recent stockholder of the
                 Debtors. Whitebox is a historical and current client of Ducera in unrelated
                 restructuring and M&A situations.




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                                   Exhibit B

                             Proposed Interim Order




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                         IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                    NORTHERN DIVISION


     In re:                                                        Chapter 11

     REMINGTON OUTDOOR COMPANY, INC.,                              Case No. 20-81688-11
     et al.,1
                                                                   Joint Administration Requested
                                  Debtors.


       INTERIM ORDER AUTHORIZING THE EMPLOYMENT AND RETENTION OF
         DUCERA PARTNERS LLC AS INVESTMENT BANKER TO THE DEBTORS

              Upon the Debtors’ Application for Entry of Interim and Final Orders Authorizing the

 Employment and Retention of Ducera Partners LLC as Investment Banker to the Debtors (the

 “Application”)2 filed by the above-captioned debtors and debtors in possession (the “Debtors”)

 for entry of an interim order (this “Interim Order”) pursuant to Bankruptcy Code section 327(a)

 and Bankruptcy Rules 2014(a) and 2016 authorizing the Debtors to retain and employ Ducera

 Partners LLC (“Ducera”), as investment banker for the Debtors effective as of [July 27, 2020] (the

 “Petition Date”), in accordance with the terms and conditions of that certain engagement letter

 executed on May 15, 2020, including any amendments and schedules thereto (the “Engagement

 Agreement”), attached hereto as Exhibit 1, all as more fully set forth in the Application; and upon

 consideration of the Meyer Declaration filed contemporaneously therewith; and upon the First Day

 Declaration; and it appearing that (i) the Court has jurisdiction over these Chapter 11 Cases and



 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.
 2
   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Application.


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 the Application under 28 U.S.C. §§ 1334(b) and 157, and the Amended General Order of Reference

 from the United States District Court for the Northern District of Alabama dated as of July 17,

 1984, (ii) venue of these Chapter 11 Cases and the Application in this Court is proper under 28

 U.S.C. §§ 1408 and 1409, (iii) the Application is a core proceeding pursuant to 28 U.S.C. § 157(b),

 and the Court may enter interim and final orders consistent with Article III of the United States

 Constitution, and (iv) notice of the Application was adequate and proper under the circumstances,

 and no other or further notice need be given; and this Court being satisfied, based on the

 representations made in the Application and the Meyer Declaration, that Ducera is a “disinterested

 person” as such term is defined in section 101(14) of the Bankruptcy Code, as modified by section

 1107(b) of the Bankruptcy Code, and as required under section 327(a) of the Bankruptcy Code,

 and that Ducera represents no interest adverse to the Debtors’ estates; and the Court having held

 an interim hearing, if necessary, to consider the relief requested in the Application (the “Interim

 Hearing”); and upon the record of the Interim Hearing, if any; and the Court having determined

 that the legal and factual bases set forth in the Application establish just cause for the relief granted

 herein; and it appearing that the relief requested in the Application is in the best interests of the

 Debtors, their estates, creditors, and all parties in interest; and upon all of the proceedings had

 before the Court and after due deliberation and sufficient cause appearing therefor, it is HEREBY

 ORDERED, ADJUDGED, AND DECREED THAT:

           1.    The Application is GRANTED on an interim basis to the extent set forth herein.

           2.    In accordance with Bankruptcy Code section 327(a), the Debtors are authorized to

 employ and retain Ducera as their investment banker effective as of the Petition Date under the

 terms set forth in the Application, the Meyer Declaration, and the Engagement Agreement,




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 including the Fee Structure and Indemnification Provisions set forth therein (as modified by this

 Interim Order).

           3.   All of Ducera’s fees and expenses, as set forth in the Engagement Agreement, are

 approved pursuant to section 328(a) of the Bankruptcy Code and shall not be evaluated under the

 standard set forth in section 330 of the Bankruptcy Code, except that the Bankruptcy Administrator

 shall retain all rights to object to Ducera’s fees under the Engagement Agreement based on the

 reasonableness standard provided for in section 330 of the Bankruptcy Code. Ducera’s fees and

 expenses shall be paid in the amounts, at the times and in the manner described in the Engagement

 Agreement.

           4.   The terms of the Engagement Agreement, as modified by this Interim Order, are

 reasonable terms and conditions of employment and are approved.

           5.   Ducera shall use reasonable efforts to avoid any duplication of services provided

 by any of the Debtors’ other retained professionals in these Chapter 11 Cases.

           6.   The Indemnification Provisions set forth in the Engagement Agreement are

 approved, subject during the pendency of these Chapter 11 Cases to the following:

                (a)    if, before the earlier of (i) the entry of an order confirming a chapter 11 plan
                       in these Chapter 11 Cases (that order having become a final order no longer
                       subject to appeal), and (ii) the entry of an order closing these Chapter 11
                       Cases, Ducera believes that it is entitled to the payment of any amounts by
                       the Debtors on account of the Debtors’ indemnification, contribution and/or
                       reimbursement obligations under the Engagement Agreement, as modified
                       by this Interim Order, including without limitation the advancement of
                       defense costs, Ducera must file an application therefore in this Court, and
                       the Debtors may not pay any such amounts to Ducera before the entry of an
                       order by this Court approving such payment. This subparagraph (a) is
                       intended only to specify the period during which the Court shall have
                       jurisdiction over any request by Ducera for indemnification, contribution or
                       reimbursement and is not a provision limiting the duration of the Debtors’
                       obligation to indemnify;

                (b)    subject to the provisions of subparagraph (c) below, the Debtors are
                       authorized to indemnify, and shall indemnify, Ducera in accordance with

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                        the Engagement Agreement for any claim arising from related to or in
                        connection with the services provided for, whether prepetition or post-
                        petition, in the Engagement Agreement; and

                 (c)    notwithstanding any provisions of the Engagement Agreement to the
                        contrary, the Debtors shall have no obligation to indemnify Ducera or
                        provide contribution or reimbursement to Ducera for any claim or expense
                        that is either (i) judicially determined to have resulted primarily from the
                        willful misconduct, gross negligence, bad faith or self-dealing of Ducera, or
                        (ii) settled prior to a judicial determination as to Ducera’s willful
                        misconduct, gross negligence, bad faith or self-dealing, but determined by
                        the Court, after notice and a hearing pursuant to this subparagraph (c), to be
                        a claim or expense for which Ducera should not receive indemnity,
                        contribution or reimbursement under the terms of the Engagement
                        Agreement.

           7.    To the extent there may be any inconsistency between the terms of the Application,

 the Engagement Agreement, the Meyer Declaration and this Interim Order, this Interim Order shall

 govern.

           8.    Notice of the Application is adequate under Bankruptcy Rule 6004(a).

           9.    The Debtors are authorized to take all actions necessary to implement the relief

 granted in this Interim Order.

           10.   The final hearing (the “Final Hearing”) on the Application is scheduled for

 _____________, 2020, at __:__ _.m., Central Time, before this Court.             Any objections or

 responses to entry of a final order on the Application shall be filed on or before 4:00 p.m. Central

 Time on __________, 2020, and served on the following parties: (a) proposed counsel for the

 Debtors, O’Melveny & Myers LLP, 400 South Hope Street, Los Angeles, CA, 90071 (Attn:

 Stephen H. Warren and Karen Rinehart) (Emails: swarren@omm.com; krinehart@omm.com) and

 Burr & Forman LLP, 420 20th Street North, Suite 3400, Birmingham, AL 35203 (Attn: Derek F.

 Meek and Hanna Lahr) (Emails: dmeek@burr.com; hlahr@burr.com); (b) the Office of the

 Bankruptcy Administrator for the Northern District of Alabama, P.O. Box 3045, Decatur, AL

 35602 (Attn: Richard Blythe) (Email: richard_blythe@alnba.uscourts.gov); and (c) counsel to the

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 Creditors’ Committee (if any). In the event no objections to the entry of a final order on the

 Application are timely received, this Court may enter a final order without need for a hearing

 thereon.

           11.   No later than two (2) business days after the date this Interim Order is entered, the

 Debtors shall cause this Interim Order to be served via first class U.S. mail on the following parties,

 which shall constitute adequate notice of the Final Hearing on the Application: (i) the Bankruptcy

 Administrator; (ii) the Debtors’ consolidated list of creditors holding the forty largest unsecured

 claims; (iii) counsel to Whitebox Advisors LLC, as Priority Term Loan Lender; (iv) counsel to

 Cantor Fitzgerald Securities, as Priority Term Loan Agent under the Debtors’ prepetition Priority

 Term Loan Credit Agreement; (v) counsel to Ankura Trust Company, as FILO Agent under the

 Debtors’ prepetition FILO Term Loan Agreement, and as Exit Term Loan Agent under the

 Debtors’ prepetition Exit Term Loan Agreement; (vi) counsel to Franklin Advisors, Inc., as FILO

 Lender; (vii) the United States Internal Revenue Service; (viii) counsel to the United Mine

 Workers of America; and (ix) all parties entitled to notice pursuant to Bankruptcy Rule 2002.

           12.   The Court shall retain jurisdiction to hear and determine all matters arising from or

 related to the implementation, interpretation, and/or enforcement of this Interim Order.


 Dated: _______________, 2020                          ____________________________________
                                                       UNITED STATES BANKRUPTCY JUDGE




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                                    Exhibit 1

                          Ducera Engagement Agreement




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                                                                                                     Ducera Partners LLC
                                                                                                     499 Park Avenue
                                                                                                     16th Floor
                                                May 15, 2020                                         New York, NY 10022


 CONFIDENTIAL                                                                                        p (212) 671-9700


                                                                                                     DuceraPartners.com
 Remington Outdoor Company, Inc.
 870 Remington Drive
 P.O. Box 700
 Madison, North Carolina 27025

                Attention: Ken D’Arcy, Chief Executive Officer

 Ladies and Gentlemen:

        This amended, restated, and superseding engagement letter (the “Superseding
 Agreement” or the “Agreement”) confirms the understanding and agreement between Remington
 Outdoor Company, Inc. and Ducera Partners LLC and its affiliates including, where appropriate,
 Ducera Securities LLC (collectively, “Ducera”) as set forth herein. 1 For purposes of this
 Superseding Agreement, Remington Outdoor Company, Inc., including any and all affiliates and
 subsidiaries, shall be referred to herein collectively as, the “Company.” This Superseding
 Agreement also confirms the agreement of the Company to perform its obligations, and make
 applicable acknowledgements, as expressly set forth herein.

         Section 1.    Scope of Engagement and Services. During the Term (defined in Section
 8), Ducera shall provide investment banking services to the Company, including the Board of
 Directors of the Company (collectively, the “Board”), as the case may be, relating to the services
 set forth herein:

                (a)     General Financial Advisory and Investment Banking Services. Pursuant to
 this Superseding Agreement, if requested by the Company or the Board, Ducera shall: (1)
 familiarize ourselves with the business, operations, financial condition, and capital structure of the
 Company; (2) assist with the development of financial data and presentations to the Company and
 the Board, various creditors, and other parties; (3) analyze the Company’s financial liquidity and
 evaluate alternatives to improve such liquidity; (4) assist with the evaluation of the Company’s
 valuation, debt capacity and alternative capital structures in light of its projected cash flow; and,
 (5) provide such other advisory services as are customarily provided in connection with the
 analysis and negotiation of any of the transactions contemplated by this Superseding Agreement
 including, without limitation, any testimony in support thereof.




          1
                   The advisory services and compensation arrangements set forth in this Superseding Agreement
 amend, supplement, and replace the prior agreement between the Company and Ducera, dated November 22, 2019
 (the “Ducera November Engagement Letter”), and any other agreements entered into between the Company and
 Ducera prior to the date hereof; provided, however, that the indemnification previously agreed to by the Company
 shall continue to be in full force and effect with regard to work done by Ducera under the Ducera November
 Engagement Letter and any other agreements entered into between the Company and Ducera prior to the date hereof.




                                                        1
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                 (b)     Restructuring Services.2 If requested by the Company or the Board, Ducera
 shall: (1) analyze various Restructuring scenarios and the potential impact of these scenarios on
 the value of the Company and the recoveries of those stakeholders impacted by the Restructuring;
 (2) provide strategic advice with regard to restructuring or refinancing the Company’s Existing
 Obligations; 3 (3) provide financial advice and assistance to the Company in developing a
 Restructuring; (4) in connection therewith, provide financial advice and assistance to the Company
 in structuring any new securities to be issued under a Restructuring; (5) assist the Company and/or
 participate in negotiations with entities or groups affected by the Restructuring; and (6) provide
 any required testimony in connection with the foregoing.

                (c)     Transaction Services.4 If requested by the Company or the Board, Ducera
 shall: (1) provide financial advice to the Company in structuring, evaluating and effectuating a
 Transaction, identify potential counterparties and, if requested, contact and solicit potential
 counterparties; (2) assist with the arrangement and execution of a Transaction, including
 identifying potential counterparties or parties in interest, assisting in the due diligence process, and
 negotiating the terms of any proposed Transaction; (3) provide strategic advice to the Company in



          2
                    For purposes of this Superseding Agreement, the term “Restructuring” shall mean any
 restructuring, reorganization, modification, rescheduling and/or recapitalization (whether or not pursuant to one or
 more proceedings voluntarily or involuntarily commenced under chapters 7 or 11 of title 11 of the United States Code,
 11 U.S.C. 101–1532 (as amended, the “Bankruptcy Code”) or any cases converted thereto (the “Bankruptcy Cases”
 and the court having jurisdiction over such cases, the “Bankruptcy Court”)) of the Company’s Existing Obligations
 (as defined herein) that is achieved (other than a Transaction (as defined herein)) through, without limitation: (a) a
 solicitation of waivers and consents from the holders of Existing Obligations; (b) rescheduling of the maturities of
 Existing Obligations; (c) a change in interest rates, repurchase, settlement, repayment, or forgiveness of Existing
 Obligations; (d) an amendment to the Existing Obligations; (e) conversion of Existing Obligations into equity; (f) an
 exchange offer, or an amend-and-extend involving the issuance of new loans and/or securities in exchange for Existing
 Obligations (excluding, for the avoidance of doubt, any general forbearance granted by holders of Existing
 Obligations); or, (g) the issuance of new loans and/or securities, sale or disposition of assets, sale of debt or equity
 securities or other interests, or other similar transaction or series of transactions.
           3
                     For purposes of this Superseding Agreement, the term “Existing Obligations” shall mean the
 material outstanding indebtedness of the Company including, but not limited to, bank debt, bond debt, asset back
 lending facilities, term loans, credit facilities, trade claims, leases (both on and off balance sheet), pension obligations,
 litigation-related claims and obligations, other on and off balance sheet indebtedness, workers’ compensation claims
 and obligations, and other liabilities.
           4
                    For purposes of this Superseding Agreement, the term “Transaction” shall mean any transaction or
 series of transactions involving: (i) an acquisition, merger, consolidation or other business combination pursuant to
 which the business or assets of the Company are, directly or indirectly, combined with, or acquired by, another
 company; (ii) the acquisition, directly or indirectly, by a buyer or buyers (which term shall include a “group” of
 persons as defined in Section 13(d) of the Securities Exchange Act or 1934, as amended) of equity interests or options,
 or any combination hereof, constituting a majority of the then-outstanding stock of the Company or possessing a
 majority of the then-outstanding voting power of the Company (“Voting Stock”); (iii) any other purchase or
 acquisition, directly or indirectly, by a buyer or buyers or a majority of the assets or Voting Stock of the Company; or
 (iv) the formation of a joint venture partnership or similar entity with the Company or direct investment in the
 Company for the purposes of effecting a transfer of a majority of the Voting Stock of the Company to a third party, a
 lease of assets with or without a purchase option, a merger, consolidation or other business combination, a tender
 offer, or any similar transaction, including through a sale of a material portion of the Company’s assets pursuant to
 Section 363 of the Bankruptcy Code (defined herein).




                                                              2
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 connection with the evaluation of, and responses to, activist shareholder action; and (4) provide
 any testimony in connection therewith.

                 (d)    Financing Services.5 If requested by the Company or the Board, Ducera
 shall: (1) provide financial advice to the Company in connection with the structure and
 effectuation of a Financing, identify potential Investors and, at the Company’s request, contact and
 solicit such Investors; (2) assist with the arrangement of a Financing, including identifying
 potential sources of capital, assisting in the due diligence process, and negotiating the terms of any
 proposed Financing; and (3) provide any testimony in connection therewith; provided, however, it
 is understood and agreed that nothing contained herein shall constitute an express or implied
 commitment by Ducera to act in any capacity or to underwrite, place or purchase any financing or
 securities, which commitment shall only be set forth in a separate underwriting, placement agency
 or other appropriate agreement relating to the Financing. The Company may accept or reject any
 investor or any Financing in its sole discretion.

                 (e)     Generally. Notwithstanding anything contained in this Agreement to the
 contrary, Ducera shall have no responsibility for designing or implementing any initiatives to
 improve the Company’s operations, profitability, cash management or liquidity or to provide any
 fairness, valuation or solvency opinions or to make any independent evaluation or appraisal of any
 assets or liabilities of the Company or any other party. Ducera makes no representations or
 warranties about the Company’s ability to (1) successfully improve its operations, (2) maintain or
 secure sufficient liquidity to operate its business, or (3) successfully complete a Restructuring,
 Transaction, or Financing. Ducera is retained under this Agreement solely to provide advice and
 services regarding the transactions contemplated by this Agreement. Ducera’s engagement does
 not encompass providing “crisis management.” The advisory services and compensation
 arrangements set forth in this Agreement do not encompass other investment banking services or
 transactions that may be undertaken by Ducera at the request of the Company or the Board, or any
 other specific services not set forth in this Agreement. The terms and conditions of such
 investment banking services, including compensation and arrangements, would be set forth in a
 separate written letter agreement between Ducera and the Company, as approved by the Board.

         Section 2.      Compensation. Subject to Section 8, in consideration of Ducera’s services
 set forth in Section 1, the Company agrees to pay Ducera:

               (a)     For services rendered in accordance with Section 1(a), a nonrefundable
 monthly cash fee of $150,000 (the “Monthly Advisory Fee”) due and payable each month during
 the engagement, with the Monthly Advisory Fee commencing as of April 1, 2020, and each and
 every month thereafter until the termination of Ducera’s services pursuant to this Agreement; plus,

               (b)    For services rendered in accordance with Section 1(b), a restructuring fee
 of $3,500,000, earned and payable upon consummation of a Restructuring (the “Restructuring
            5
                     For purposes of this Superseding Agreement, the term “Financing” shall mean a private issuance,
 sale, or placement of the equity, equity-linked, preferred equity, including warrants or hybrid capital, convertible debt,
 financing instruments, obligations, or debt (including, but not limited to, revolving credit and asset backed lending
 facilities, and debtor-in-possession financing) of the Company with one or more lenders and/or investors, or any other
 type of loan, financing, debt, or rights offering (each such lender or investor, an “Investor”).




                                                             3
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 Fee”); provided, however, that no more than one Restructuring Fee shall be payable to Ducera
 hereunder; 6 plus,

                (c)   For services rendered in accordance with Section 1(c), a transaction fee
 payable upon consummation of any Transaction (the “Transaction Fee”). The Transaction Fee
 shall equal one-hundred-and-seventy five basis points (1.75%) of the Proceeds received by the
 Estate;7

                (d)    For services rendered in accordance with Section 1(d), a financing fee (the
 “Financing Fee”), which shall be earned upon commitment and payable upon the closing or
 termination of such Financing, equal to:

                           (1)         1.500% of the face amount of any senior secured debt Raised by
                                       the Company including, but not limited to, debtor-in-possession
                                       Financing, revolving credit and asset backed lending facilities, and
                                       exit Financing; provided that the Financing Fee shall be no less
                                       than $500,000;8 and,


          6
                    For purposes of this Superseding Agreement, a Restructuring shall be deemed to have been
 consummated upon: (a) the closing of the applicable transaction by which the Existing Obligations of the Company
 are to be restructured or refinanced (including, for avoidance of doubt, a payment in full of the Existing Obligations);
 or, (b) in the case of a Court approved Restructuring, the date that the applicable Chapter 11 plan of reorganization
 becomes effective in accordance with the terms and conditions thereof; provided, that if the Restructuring is to be
 completed, in whole or in part, through a pre-arranged or pre-packaged Restructuring: (i) 50% of the Restructuring
 Fee shall be earned and shall be payable upon obtaining support (e.g. via a term sheet, restructuring support agreement
 or other agreement in principle documenting they key terms of such prearranged Plan) from one or more of the
 Company’s key creditor classes (e.g., Term Loan Lenders) that is sufficient to justify filing such pre-arranged or pre-
 packaged Restructuring; and (ii) the remainder of such fees shall be earned and shall be payable upon consummation
 of the Restructuring; provided, further, that in the event that Ducera is paid a Restructuring Fee in connection with a
 pre-arranged or pre-packaged Restructuring, and such a Restructuring is not thereafter consummated, then such fee
 previously paid to Ducera may be credited by the Company against any subsequent fee hereunder that becomes
 payable by the Company to Ducera or, if such crediting does not equal 100% of the pre-paid portion of the
 Restructuring Fee, then such fee shall be returned to the Company upon the termination of the Superseding Agreement.
          7
                   For purposes of this Superseding Agreement, the term “Proceeds” shall include any and all forms
 of consideration including, but not limited to: (a) all cash paid or payable to the Estate or its shareholders (or holders
 of executive equity awards (“Awards”)), including indemnity and net working capital escrow amounts; (b) the fair
 market value of all notes, securities and other property issued or delivered or to be issued or delivered to the Estate
 (including holders of Awards); (c) the amount of any extraordinary dividends or distributions paid to the Estate
 (including Awards) in connection with or contemplated by the Transaction; and, (e) the fair market value of any debt
 and equity securities or other consideration (including, but not limited to, take-back paper), directly or indirectly,
 received by the Estate (including Awards) upon consummation of such a Transaction.


          8
                     For purposes of this Agreement, the term, “Raised,” shall mean the total amount committed by an
 Investor on terms acceptable to the Company and the Board, irrespective as to whether or not the Company draws any
 or all of the amount committed by an Investor, and whether or not the Company applies such amounts to finance any
 of its obligations or a transaction. For illustrative purposes, in connection with any revolving credit or asset backed
 lending facilities, all fees set forth in Section 2 shall be calculated based on the total amount of the facility, including
 any letters of credit, irrespective as to whether the Company is permitted immediately to draw upon the full amount
 of facility, including any borrowing base, at the time of commitment.



                                                              4
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                      (2)       3.500% of the face amount of any unsecured debt or equity Raised
                                by the Company in connection with a Restructuring or a
                                Transaction.

 No more than one Transaction Fee shall be payable to Ducera hereunder.

                 (e)    Notwithstanding anything else contained in this Superseding Agreement,
 the Company and Ducera acknowledge and agree that (1) the Company shall be obligated to pay
 Ducera the greater of the Restructuring Fee and the Transaction Fee, and not both a Restructuring
 Fee and a Transaction Fee; (2) the Financing Fee shall be credited against the Transaction Fee if,
 and only if, the Financing is provided by the same party as the Stalking Horse bidder or such other
 winning bidder; and (3) Ducera shall receive no more than the Monthly Advisory Fee, and shall
 not receive any Restructuring, Transaction, or Financing Fees in the event that a material portion
 of the Company’s assets (i.e., greater than 2/3rd of the Company’s assets) are sold pursuant to
 Chapter 7 of the Bankruptcy Code.

                 (f)    The Company and Ducera acknowledge and agree that the Company is
 under no obligation to consummate a Restructuring, Financing, or Transaction as set forth herein
 and, in the event the Company is unable or unwilling to do so, the Company and the Board will
 have no obligation or liability (other than the Terms and Conditions set forth in Annex A) to
 Ducera other than the payment of the Monthly Advisory Fee due up to the date of termination of
 this Superseding Agreement. The Company and Ducera further acknowledge and agree that: (i)
 hours worked, (ii) the results achieved, and, (iii) the ultimate benefit to the Company of the work
 performed, in each case, in connection with this engagement, may be variable, and that the
 Company and Ducera have taken such factors into account in setting the fees hereunder. To the
 extent further services are requested by the Company and/or the Board, the Company and Ducera
 agree to negotiate in good faith a reasonable scope of services and fee structure in connection with
 any such further services provided by Ducera, depending on the size, scope and nature of the
 services to be provided, as well as any discount for payments rendered in connection with the
 scope of services set forth in Section 1.

         Section 3.      Expenses and Payments. In addition to the fees set forth in Section 2, the
 Company agrees upon request to promptly reimburse Ducera for its reasonable and documented
 out-of-pocket expenses, including, but not limited to, travel and transportation expenses, third
 party research and telecommunication expenses, printing cost, courier and other shipping and
 mailing cost (but excluding any expenses of Ducera’s external legal counsel, absent the prior
 written (email to be sufficient) consent); provided, however, that the total amount of expenses shall
 not exceed $50,000 without the Company’s prior written (email to be sufficient) approval (not to
 be unreasonably withheld); provided, further, that this Section 3 shall in no way affect the
 Company’s obligations as set forth in Annex A hereto. All payments due under this Superseding
 Agreement (including under Section 2 and Section 3 hereof) shall be made in U.S. dollars in
 immediately available funds, free and clear of any set off, claim and applicable taxes (with
 appropriate gross up for any taxes withheld).

        Section 4.      Information and Announcements.

                (a)     Ducera’s advice hereunder is intended solely for the benefit and use of the


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 Company and the Board (in their capacity as directors and, as applicable, officers of the Company),
 and such advice may not be used or relied upon for any other purpose or by any other person,
 including any security holder (in their capacity as such), employee or creditor of the Company.
 No advice rendered by Ducera, whether formal or informal, may be disclosed or described, in
 whole or in part, or otherwise referred to, without Ducera’s prior written consent, which shall not
 be unreasonably withheld except: (i) to the Company’s or the Board’s other professional advisors
 (who may not further disclose such information or use it in any way other than in connection with
 the services contemplated by this Superseding Agreement, except as permitted herein); or, (ii) as
 Legally Required.9 In addition, the terms of this Superseding Agreement may not be disclosed or
 described, in whole or in part, without Ducera’s prior written consent, which shall not be
 unreasonably withheld, except: (x) to the Company’s or the Board’s other professional advisors
 (who may not further disclose such information or use it in any way other than in connection with
 the services contemplated by this Superseding Agreement, except as permitted herein); (y) as
 Legally Required, including in connection with the filing of any retention application seeking with
 a bankruptcy court seeking authority for the Company to retain Ducera. The Company shall be
 solely responsible for the accuracy and completeness of, and Ducera shall have no liability with
 respect to, any materials required to be disclosed to third parties or submitted to any regulatory
 authorities in connection with any services contemplated by this Superseding Agreement.

                  (b)    In performing its services hereunder, Ducera shall be entitled to rely without
 investigation upon all available information, including information supplied to it by or on behalf
 of the Company, any counterparty or their respective officers, directors, employees, accountants,
 counsel and other representatives and shall not be responsible for the accuracy or completeness of,
 or have any obligation to verify, the same. Ducera will not conduct any appraisal of assets or
 liabilities of any party to a transaction or evaluate the solvency thereof under any state or federal
 bankruptcy, insolvency or similar law. The Company further represents and warrants to Ducera
 that, all written information made available to Ducera pursuant hereto will, to the best of the
 Company’s knowledge, be complete and correct in all material respects and will not contain any
 untrue statement of material fact or omit to state a material fact necessary in order to make the
 statements therein, in light of the circumstances under which they were made, not misleading,
 unless otherwise clearly noted thereon or the materials are of such a nature as Ducera would or
 should have known that they were incomplete or otherwise subject to significant uncertainties and
 contingencies.

                 (c)     Ducera will keep confidential information of the Company made available
 to Ducera in connection with this Superseding Agreement, any advice rendered to the Company
 in connection with this engagement, and the terms of the Superseding Agreement, pursuant to that
 letter agreement between the Company and Ducera, dated February 11, 2019 (the “Confidentiality
 Agreement”). Ducera and the Company agree that the Confidentiality Agreement is still in effect
 as of the date of this Superseding Agreement has not previously been terminated by either party.

          9
                   For purposes of this Superseding Agreement, the term “Legally Required” shall mean as requested
 or required by law, judicial authority, regulation, rule, legal process, governmental agency or other regulatory authority
 (including, without limitation, any stock exchange or self-regulatory organization), action, investigation or proceeding
 (including, without limitation, as part of any interrogatory, court order, subpoena, administrative proceeding, civil
 investigatory demand, in each case whether oral or written, or any other legal or regulatory process) or as required by
 the Company’s certificate of incorporation, bylaws or stockholders’ agreement.



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 Ducera understands and agrees that it may receive material non-public information regarding the
 Company in connection with its engagement and it will hold such information pursuant to the
 Confidentiality Agreement, and agrees to comply with all applicable securities laws in connection
 with any such information.

         Section 5.    Terms and Conditions. Because Ducera will be acting as an independent
 contractor to the Company in connection with this Superseding Agreement, the Company and
 Ducera agree to the Terms and Conditions contained in Annex A (the “Terms and Conditions”),
 which Annex A is incorporated by reference into this Superseding Agreement and is an integral
 part hereof.

        Section 6.      Acknowledgements and Waivers.

                  (a)    The Company acknowledges and agrees that Ducera has been retained
 solely to act as investment banker in accordance with Section 1 and that no fiduciary or agency
 relationship between the Company and Ducera has been created in respect of any of the
 transactions set forth herein or Ducera’s engagement hereunder, regardless of whether Ducera has
 advised or is advising the Company on other matters. In connection with the engagement, Ducera
 is acting as an independent contractor, with obligations owing solely to the Company and the Board
 and not in any other capacity. Except as expressly contemplated by the Terms and Conditions as
 set forth in Annex A, the engagement is not intended to confer rights upon any persons not a party
 hereto (including security holders, employees or creditors of the Company).

                  (b)    This Superseding Agreement shall be binding upon and inure to the benefit
 of the Company, Ducera and their respective successors and assigns. If any term, provision,
 covenant or restriction herein (including the Terms and Conditions) is held by a court of competent
 jurisdiction to be invalid, void or unenforceable or against public policy, the remainder of the terms,
 provisions and restrictions contained herein shall remain in full force and effect and shall in no
 way be modified or invalidated.

                 (c)     Ducera and its affiliates and certain of their respective members, officers,
 managers, directors and employees, as well as certain funds in which they may have financial
 interests, may from time-to-time acquire, hold or make direct or indirect investments in, or
 otherwise finance, a wide variety of companies, including parties that may have interests with
 respect to the Company or any transaction or other parties involved in a transaction, from which
 conflicting interests or duties with respect to the Company, its directors, officers and employees
 may arise (any such party, a “Conflicted Party” and collectively, the “Conflicted Parties”).
 Ducera is not currently advising, and shall not advise, any Conflicted Party, including the parties
 listed on Schedule A hereto, in any matter related to the Company, this engagement or the
 transactions contemplated hereunder. Without limitation to the foregoing sentence, during the
 Term, Ducera will promptly (and otherwise upon the written request of the Company) inform the
 Board of the existence of any actual conflicts of interest that may arise after the date of this
 Superseding Agreement and agree to take such action as the Board may reasonably request to
 mitigate the effects of the circumstances described herein. The Company acknowledges and
 agrees that Ducera does, and may continue to, represent the Conflicted Parties in other matters
 unrelated to this engagement and the Company.



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                  (d)    Subject to Section 6(c), the Company acknowledges and agrees that Ducera
 and its affiliates may be engaged in a broad range of transactions involving interests that differ
 from those of the Company and that Ducera has no obligation to disclose such interests and
 transactions to the Company. The Company waives, to the fullest extent permitted by law, any
 claims it may have against Ducera for breach of fiduciary duty or alleged breach of fiduciary duty
 and agrees that Ducera shall have no liability (whether direct or indirect) to the Company in respect
 of such a fiduciary duty claim or to any person asserting a fiduciary duty claim on behalf of or in
 right of the Company, including the Company’s security holders, employees, or creditors. The
 Company understands that Ducera is not undertaking to provide any legal, accounting or tax advice
 in connection with the engagement and that Ducera’s role in any due diligence will be limited
 solely to performing such review as it deems advisable to support its own analysis and shall not be
 on behalf of or for the benefit of the Company.

                (e)     To help the government fight the funding of terrorism and money
 laundering activities, federal law requires all financial institutions to obtain, verify and record
 information that identifies each entity or person that engages Ducera’s services. Pursuant to such
 requirement, Ducera may from time to time request copies of documents that would be necessary
 to comply with the foregoing federal law. The Company further acknowledges and agrees that, in
 accordance with 31 CFR § 1010.230 and to the extent applicable, to complete the Certification
 Regarding Beneficial Owners of Legal Entity Customers in connection with the execution of this
 Superseding Agreement.

         Section 7.      Governing Law; Submission to Jurisdiction; Waiver of Jury Trial. All
 aspects of the relationship created by this Superseding Agreement and any other agreements
 relating to Ducera’s engagement, shall be governed by and construed in accordance with the laws
 of the State of New York, applicable to contracts made and to be performed therein and, in
 connection therewith, the parties hereto consent to the exclusive jurisdiction of the Supreme Court
 of the State of New York sitting in New York County or the United States District Court for the
 Southern District of New York and agree to venue in such courts. Notwithstanding the foregoing,
 solely for purposes of enforcing the Company’s obligations hereunder, the Company consents to
 personal jurisdiction, service and venue in any court proceeding in which any claim relating to or
 arising out of Ducera’s engagement is brought by or against any Indemnified Person. DUCERA
 AND THE COMPANY (ON ITS OWN BEHALF AND, TO THE MAXIMUM EXTENT
 PERMITTED BY LAW, ON BEHALF OF ITS SECURITY HOLDERS AND CREDITORS)
 EACH HEREBY AGREES TO WAIVE ANY RIGHT TO TRIAL BY JURY WITH RESPECT
 TO ANY CLAIM, COUNTERCLAIM OR ACTION ARISING OUT OF OR RELATING TO
 THIS SUPERSEDING AGREEMENT OR DUCERA’S ENGAGEMENT.

        Section 8.      Termination.

                 (a)   Ducera’s engagement hereunder shall commence upon the execution of this
 Superseding Agreement by Ducera and the Company, and will continue until the Superseding
 Agreement is terminated by either party hereto upon thirty (30) days’ prior written notice to the
 other party (the “Term”).

                 (b)     In the event of any termination of Ducera’s engagement hereunder, any fees
 set forth in Section 2 paid or due to be paid prior to termination shall remain the property of Ducera.


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 No termination of Ducera’s engagement hereunder shall affect the Company’s obligations
 pursuant to the Terms and Conditions or its obligations to reimburse Ducera for fees and expenses,
 payable or incurred in accordance with Section 2 and/or Section 3 prior to the termination of this
 Superseding Agreement, and the Terms and Conditions set forth in Annex A shall survive any
 termination of this Superseding Agreement.

                 (c)     In the event of any termination of Ducera’s engagement (other than (i) by
 Ducera; or, (ii) by the Company based on actions taken, or failures to act, by Ducera in bad faith,
 willful misconduct or gross negligence which actions remain unremediated by Ducera within five
 (5) business days after written notice from the Company of its intention to terminate this
 Superseding Agreement on the basis of such actions or failure to act specifying in reasonable detail
 the basis for such termination, Ducera shall continue to be entitled to the full amount of the fees
 set forth in Section 2 (other than the Monthly Advisory Fee) in the event that at any time prior to
 the expiration of Tail Period, the Company consummates a Restructuring, Transaction, or
 Financing; 10 provided, however, if Ducera has a financial advisory, investment banking, or
 consulting relationship with one or more Conflicted Parties in connection with the Company
 during the Tail Period, Ducera shall not be entitled to any fees set forth in Section 2 (other than
 Monthly Advisor Fees paid prior to the termination of this Agreement).

                 (d)    Except as specifically provided for herein, no termination of Ducera’s
 engagement shall affect: (1) the Company’s obligations pursuant to the Terms and Conditions as
 set forth in Annex A or its obligations to reimburse Ducera for earned fees and expenses, payable
 or incurred in accordance with Section 2 and Section 3 prior to the termination of this Superseding
 Agreement; (2) Ducera’s obligations pursuant to Section 4(c), Section 6(d) and the
 Confidentiality Agreement; or, (3) Section 7, Section 8, Section 9 or Section 10.

         Section 9.      Bankruptcy Court Approval. In the event that the Company is or
 becomes a debtor under the Bankruptcy Code, whether voluntarily or involuntarily, the Company
 shall use commercially reasonable effort to seek an order authorizing Ducera’s employment
 pursuant to the terms of this Superseding Agreement, as a professional person pursuant to, and
 subject to the standard of review of, Section 328(a) of the Bankruptcy Code and applicable federal
 and local rules and orders and not subject to any other standard of review under Section 330 of the
 Bankruptcy Code. In so agreeing to Ducera’s retention, the Company acknowledges that it
 believes that Ducera’s general restructuring and liability management experience and expertise,
 our knowledge of the capital markets, and our merger and acquisition capabilities will inure to the
 benefit of the Company in pursuing any transaction, that the value to the Company of our services
 derives in substantial part from that expertise and experience and that, accordingly, the structure
 and amount of the contingent fees are reasonable regardless of the number of hours to be expended
 by our professionals in the performance of the services to be provided hereunder. The Company
 shall submit Ducera’s retention application as soon as practicable following the Company’s filing
 under the Bankruptcy Code, or the entry of an order for relief in any involuntary case filed against
 the Company, and use its reasonable efforts to cause such application to be considered on the most
 expedited basis. The retention application and the proposed order authorizing Ducera’s
 employment shall be provided to Ducera as much in advance of any Bankruptcy filing as is

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                    For purposes of this Superseding Agreement, the term “Tail Period” shall mean any time prior to
 the expiration of twelve (12) months after any such termination.



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 practicable, and must be acceptable to Ducera in its reasonable discretion. Following entry of the
 order authorizing Ducera’s employment, the Company shall pay all reasonable and documented
 fees and expenses due pursuant to this Superseding Agreement, as approved by the Bankruptcy
 Court, as promptly as possible in accordance with the terms of this Superseding Agreement, the
 Bankruptcy Code and applicable rules and orders. Ducera shall have no obligation to provide
 services under this Superseding Agreement in the event that the Company becomes a debtor under
 the Bankruptcy Code unless Ducera’s retention under this Superseding Agreement is approved
 under the Bankruptcy Code by final order of the Bankruptcy Court which is acceptable to Ducera
 and which approves this Superseding Agreement in all material respects. If the order authorizing
 Ducera’s employment is not obtained, or is later reversed, modified or set aside for any reason,
 Ducera may terminate this Superseding Agreement.

         Section 10. Entire Agreement; Amendments.                 This Superseding Agreement,
 including Annex A, constitutes the entire agreement between Ducera and the Company with
 respect to the engagement and supersedes all other oral and written representations, understandings
 or agreements relating to this engagement. No alteration, waiver, amendment, change or
 supplement hereto shall be binding or effective unless the same is set forth in writing signed by a
 duly authorized representative of each party.

         Section 11. Arbitration. Any controversy or claim arising out of or relating to this
 Superseding Agreement or the transactions described herein, or the breach, termination or validity
 of this Superseding Agreement (including the determination of the scope or applicability of this
 agreement to arbitrate) (in any such case, a “Dispute”), will be resolved as follows:

                (a)     Efforts to Resolve. The parties will use reasonable efforts to resolve the
 Dispute through direct discussions during the thirty (30) days after a party gives the other party
 written notice of a Dispute.

                 (b)     Procedures. Failing such resolution, any party can submit the Dispute to
 arbitration by delivering written notice to the other party. The Dispute will be finally settled by
 binding arbitration in The City of New York, New York, before a single arbitrator. The arbitration
 will be administered by JAMS pursuant to its Comprehensive Arbitration Rules and Procedures
 (or pursuant to its Streamlined Arbitration Rules and Procedures then in effect if the amount in
 controversy is $250,000 or less). The arbitrator will be chosen in accordance with applicable
 JAMS rules and procedures then in effect. Judgment upon the arbitration award may be entered
 by any court having jurisdiction. The arbitration award, including the determination of any amount
 of damages suffered by any party by reason of the acts or omissions of any other party, will be
 final and binding upon the parties to the maximum extent permitted by law. This section will not
 preclude the parties from seeking provisional or interim relief from a court of competent
 jurisdiction before the appointment of an arbitrator.

                 (c)     Continue to Perform. When a Dispute occurs, and while it is under
 arbitration, the parties will continue to fulfill their respective obligations, and will be entitled to
 exercise their respective rights under this Superseding Agreement.

                (d)      Confidentiality. The Dispute resolution proceedings contemplated by this
 section (and all related claims, defenses and proceedings, including the existence of the Dispute


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 and the fact that there is an arbitration proceeding) will be kept confidential and private as
 permitted by law (except as necessary to enter judgment upon the award or as otherwise required
 by applicable law). The parties therefore cannot disclose the existence, content or results of any
 proceedings conducted in accordance with this provision, and any materials submitted in
 connection with those proceedings will not be admissible in any other proceeding; provided,
 however, that this confidentiality provision will not prevent a petition to vacate or enforce an
 arbitral award, and will not bar disclosures required by the Company’s certificate of incorporation,
 bylaws or stockholders’ agreement or applicable law, rule, regulation, stock exchange listing
 agreement or legal process.

               (e)     Binding Nature. The parties intend that this section be valid, binding,
 enforceable and irrevocable.

                                  *               *              *

        We are pleased to accept the engagement and look forward to working with you. Please
 confirm your agreement with the foregoing (including the attached Terms and Conditions) by
 signing each of the enclosed copies of this Superseding Agreement and returning to us one fully
 signed copy.

                        Very truly yours,

                                         DUCERA PARTNERS LLC and, where appropriate, its
                                           affiliates, including Ducera Securities LLC

                                         By: __________________________
                                         Name: Bradley C. Meyer
                                         Title: Partner

  Accepted, Agreed, and Effective as
  of April 1, 2020:


  REMINGTON OUTDOOR COMPANY, INC.
    and all direct and indirect subsidiaries


  By:
        Name: Ken D’Arcy
        Title: Chief Executive Officer




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                            TERMS AND CONDITIONS – ANNEX A

         In further consideration of the engagement of Ducera Partners LLC and its affiliates
 including, where appropriate, Ducera Securities LLC (collectively, “Ducera”) to render corporate
 finance and other investment banking advisory services to Remington Outdoor Company, Inc.
 (collectively with its subsidiaries, the “Company”) pursuant to the Superseding Agreement to
 which these Terms and Conditions are attached, the Company and Ducera hereby agree that these
 Terms and Conditions shall be incorporated by reference into the Superseding Agreement and shall
 form an integral part thereof. Capitalized terms used but not defined herein shall have the same
 meanings specified in the Superseding Agreement and any references to this Superseding
 Agreement or the engagement shall mean the Superseding Agreement together with these Terms
 and Conditions.

         A.        The Company agrees to indemnify and hold harmless Ducera, its affiliates, the
 respective members, managers, directors, officers, partners, agents and employees of Ducera and
 its affiliates (collectively, “Indemnified Persons”) from and against, and the Company agrees that
 no Indemnified Person shall have any liability (whether direct or indirect, in contract or tort or
 otherwise) to the Company or its owners, parents, affiliates, security, holders or creditors (in their
 respective capacities as such) for, any losses, claims, expenses (including reasonable attorneys’
 fees), damages or liabilities (including actions or proceedings in respect thereof) (collectively,
 “Losses”):

                (1)     As a result of (a) the Company’s actions or failures to act (including
                        statements or omissions made or information provided by the Company or
                        its agents) in connection with the engagement; or (b) actions or failures to
                        act by an Indemnified Person in connection with this engagement with the
                        Company’s consent, or otherwise in reasonable reliance on the Company’s
                        direction, actions, or failures to act in each case in connection with the
                        engagement; or

                (2)     Otherwise related to or arising out of the engagement, Ducera’s
                        performance thereof or any other services Ducera is asked to provide to the
                        Company pursuant to this Superseding Agreement (in each case, including
                        activities prior to the date hereof), except that this Annex A(A)(1) and
                        A(A)(2) shall not apply to any Losses (nor shall the limitation of liability
                        above apply) to the extent that they are finally determined by a court of
                        competent jurisdiction to have resulted from the bad faith, willful
                        misconduct, or gross negligence of an Indemnified Person.

        B.       If such indemnification is for any reason not available (other than connection with
 situations covered by the exceptions set forth in Annex A(A)(2)), or is insufficient to hold an
 Indemnified Person harmless, the Company agrees to contribute to the Losses involved in such
 proportion as is appropriate to reflect the Relative Economic Interests (as defined herein) of the
 Company, on the one hand, and of Ducera, on the other hand, with respect to the engagement; or,
 if such allocation is determined by a court of competent jurisdiction to be unavailable, in such
 proportion as is appropriate to reflect other equitable considerations such as the relative fault of
 the Company on the one hand, and of Ducera on the other hand; provided, however, that, to the




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 extent permitted by applicable law, the Indemnified Persons shall not be responsible for Losses
 which in the aggregate exceed the amount of all fees actually received by Ducera from the
 Company in connection with the engagement.

        C.      The “Relative Economic Interests” of the Company, on the one hand, and Ducera,
 on the other hand, with respect to the engagement shall be deemed to be in the same proportion as
 (1) the total value paid or proposed to be paid or received or proposed to be received by the
 Company and its security holders, as the case may be, pursuant to the transaction(s) contemplated
 by the engagement, whether or not consummated, bears to (2) all fees actually received by Ducera
 in connection with the engagement. Without limiting the generality of the foregoing, in no event
 shall any Indemnified Person have any liability to the Company or any of its affiliates or security
 holders (in their respective capacities as such) for any consequential, special, exemplary or
 punitive damages arising out of the engagement or the performance thereof (other than such
 damages which the Company is required to pay to a third party).

         D.       If any Indemnified Person becomes involved in any capacity in any action, claim,
 suit, investigation or proceeding, actual or threatened, brought by or against any person, including
 security holders of the Company, in connection with or as a result of the engagement, the Company
 also agrees to reimburse such Indemnified Persons for their reasonable and documented expenses
 (including, without limitation, reasonable and documented legal fees and other costs and expenses
 incurred in connection with investigating, preparing for and responding to third-party subpoenas
 or enforcing the engagement by one set of counsel and local counsel, as applicable) as such
 expenses are incurred; and, provided further, that such party receiving reimbursement of expenses
 shall return any such reimbursements in the event that a court of competent jurisdiction finally
 determines that indemnification is unavailable in connection with situations covered by the
 exceptions set forth in Annex A(A)(2).

        E.        Ducera shall not be liable for any settlement of any claim, action, suit, investigation
 or proceeding effected without its consent. The Company will not, without Ducera’s prior written
 consent (which consent shall not be unreasonably withheld, conditioned, or delayed), settle,
 compromise, consent to the entry of any judgment in or otherwise seek to terminate any claim,
 action, suit, investigation or proceeding in respect of which it is foreseeable that indemnification
 may be sought hereunder, whether or not an Indemnified Person is a party thereto, unless such
 settlement, compromise, consent or termination includes an unconditional release of each
 Indemnified Person from any liabilities arising out of such claim, action, suit, investigation or
 proceeding. The Company will not permit any settlement or compromise to include, or consent to
 the entry of any judgment that includes, a statement as to, or an admission of fault, culpability or
 a failure to act by or on behalf of an Indemnified Person, without such Indemnified Person’s prior
 written consent (which consent shall not be unreasonably withheld, conditioned, or delayed). The
 Company shall not be required to indemnify any Indemnified Person for any settlement effected
 without the Company’s consent (which consent shall not be unreasonably withheld, conditioned
 or delayed).

       F.       The Company’s obligations pursuant to these Terms and Conditions shall inure to
 the benefit of any successors, assigns, heirs and personal representatives of each Indemnified
 Person and are in addition to any rights that each Indemnified Person may have at common law or
 otherwise. Prior to entering into any agreement or arrangement with respect to, or effecting, any




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 extraordinary transaction that is reasonably likely to impair the Company’s ability to meet its
 current and potential future obligations pursuant to these Terms and Conditions, the Company will
 notify Ducera in writing thereof and, if requested by Ducera, shall use commercially reasonable
 efforts to arrange alternative means of providing for the obligations of the Company set forth
 herein upon terms and conditions reasonably satisfactory to Ducera. For the avoidance of doubt,
 the preceding sentence shall not trigger any further obligation on the part of the Company in any
 transaction in which the Company’s obligations under the engagement are assumed by a successor
 company by operation of law, including through merger.

        G.       Reasonably promptly after receipt by Ducera of notice of its involvement in any
 action, claim, suit, investigation or proceeding, Ducera shall, if a claim for indemnification in
 respect thereof is to be made against the Company under these Terms and Conditions, notify the
 Company of such involvement to the extent permitted by applicable laws and regulations. Failure
 by Ducera to so notify the Company, if permitted by applicable laws and regulations, shall relieve
 the Company from the obligations to indemnify or otherwise to Ducera under these Terms and
 Conditions only to the extent that the Company suffers actual and material prejudice as a result of
 such failure. The Company, following its acknowledgment of its obligation to indemnify such
 Indemnified Person, shall be entitled to assume the defense of any such action or proceeding with
 counsel reasonably satisfactory to the Indemnified Person. No Indemnified Person may settle any
 such action or proceeding for which indemnification is or will be sought prior to the Company
 having the reasonable opportunity to assume its defense. Upon assumption by the Company of
 the defense of any such action or proceeding, the Indemnified Person shall have the right to
 participate in such action or proceeding and to retain its own counsel, but the Company shall not
 be liable for any legal expenses of other counsel subsequently incurred by such Indemnified Person
 in connection with the defense thereof unless: (i) the Company has agreed in writing to pay such
 fees and expenses; (ii) the Company shall have failed to employ counsel reasonably satisfactory
 to the Indemnified Person in a timely manner; or (iii) the Indemnified Person shall have been
 advised by counsel that there are actual or potential conflicting interests between the Company
 and the Indemnified Person, including situations in which there are one or more legal defenses
 available to the Indemnified Person that are different from or additional to those available to the
 Company; provided, however, that the Company shall not, in connection with any one such action
 or proceeding or separate but substantially similar actions or proceedings arising out of the same
 general allegations, be liable for the fees and expenses of more than one separate firm of attorneys
 at any time for all Indemnified Persons including Ducera, except to the extent that local counsel,
 in addition to its regular counsel, is required in order to effectively defend against such action or
 proceeding and except as may be required pursuant to Annex A(G)(iii).

       H.      The obligations of the parties hereto pursuant to these Terms and Conditions shall
 survive any expiration or Term of the Superseding Agreement or Ducera’s engagement hereunder.




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                                           Schedule A

                               Pre-Existing Relationship Person

 Pre-Existing Relationship Person with respect to a Financing:

    1. Franklin Advisers, Inc. and its managed accounts

    2. The Cincinnati High Yield Desk of J.P. Morgan Investment Management Inc., as
       investment manager and authorized agent of certain discretionary accounts

    3. The Indianapolis High Yield Desk of JPMorgan Investment Management Inc., as
       investment manager of certain discretionary accounts

    4. Whitebox Advisors LLC




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                                   Exhibit C

                              Proposed Final Order




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                           IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF ALABAMA
                                      NORTHERN DIVISION


     In re:                                                          Chapter 11

     REMINGTON OUTDOOR COMPANY, INC.,                                Case No. 20-81688-11
     et al.,1
                                                                     Joint Administration Requested
                                    Debtors.


         FINAL ORDER AUTHORIZING THE EMPLOYMENT AND RETENTION OF
         DUCERA PARTNERS LLC AS INVESTMENT BANKER TO THE DEBTORS

              Upon the Debtors’ Application for Entry of Interim and Final Orders Authorizing the

 Employment and Retention of Ducera Partners LLC as Investment Banker to the Debtors (the

 “Application”)2 filed by the above-captioned debtors and debtors in possession (the “Debtors”)

 for entry of a final order (this “Final Order”) pursuant to Bankruptcy Code section 327(a) and

 Bankruptcy Rules 2014(a) and 2016 authorizing the Debtors to retain and employ Ducera Partners

 LLC (“Ducera”), as investment banker for the Debtors effective as of [July 27, 2020] (the

 “Petition Date”), in accordance with the terms and conditions of that certain engagement letter

 executed on May 15, 2020, including any amendments and schedules thereto (the “Engagement

 Agreement”), attached hereto as Exhibit 1, all as more fully set forth in the Application; and upon

 consideration of the Meyer Declaration filed contemporaneously therewith; and upon the First Day

 Declaration; and it appearing that (i) the Court has jurisdiction over these Chapter 11 Cases and


 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.
 2
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Application.


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 the Application under 28 U.S.C. §§ 1334(b) and 157, and the Amended General Order of Reference

 from the United States District Court for the Northern District of Alabama dated as of July 17,

 1984, (ii) venue of these Chapter 11 Cases and the Application in this Court is proper under 28

 U.S.C. §§ 1408 and 1409, (iii) the Application is a core proceeding pursuant to 28 U.S.C. § 157(b),

 and the Court may enter interim and final orders consistent with Article III of the United States

 Constitution, and (iv) notice of the Application and Final Hearing was adequate and proper under

 the circumstances, and no other or further notice need be given; and this Court being satisfied,

 based on the representations made in the Application and the Meyer Declaration, that Ducera is a

 “disinterested person” as such term is defined in section 101(14) of the Bankruptcy Code, as

 modified by section 1107(b) of the Bankruptcy Code, and as required under section 327(a) of the

 Bankruptcy Code, and that Ducera represents no interest adverse to the Debtors’ estates; and the

 Court having held a final hearing, if necessary, to consider the relief requested in the Application

 (the “Final Hearing”); and upon the record of the Final Hearing, if any; and the Court having

 determined that the legal and factual bases set forth in the Application establish just cause for the

 relief granted herein; and it appearing that the relief requested in the Application is in the best

 interests of the Debtors, their estates, creditors, and all parties in interest; and upon all of the

 proceedings had before the Court and after due deliberation and sufficient cause appearing

 therefor, it is HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

           1.   The Application is GRANTED on a final basis to the extent set forth herein.

           2.   In accordance with Bankruptcy Code section 327(a), the Debtors are authorized to

 employ and retain Ducera as their investment banker effective as of the Petition Date under the

 terms set forth in the Application, the Meyer Declaration, and the Engagement Agreement,




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 including the Fee Structure and Indemnification Provisions set forth therein (as modified by this

 Final Order).

           3.    All of Ducera’s fees and expenses, as set forth in the Engagement Agreement, are

 approved pursuant to section 328(a) of the Bankruptcy Code and shall not be evaluated under the

 standard set forth in section 330 of the Bankruptcy Code, except that the Bankruptcy Administrator

 shall retain all rights to object to Ducera’s fees under the Engagement Agreement based on the

 reasonableness standard provided for in section 330 of the Bankruptcy Code. Ducera’s fees and

 expenses shall be paid in the amounts, at the times and in the manner described in the Engagement

 Agreement.

           4.    The terms of the Engagement Agreement, as modified by this Final Order, are

 reasonable terms and conditions of employment and are approved.

           5.    Ducera shall use reasonable efforts to avoid any duplication of services provided

 by any of the Debtors’ other retained professionals in these Chapter 11 Cases.

           6.    The Indemnification Provisions set forth in the Engagement Agreement are

 approved, subject during the pendency of these Chapter 11 Cases to the following:

                 (a)    if, before the earlier of (i) the entry of an order confirming a chapter 11 plan
                        in these Chapter 11 Cases (that order having become a final order no longer
                        subject to appeal), and (ii) the entry of an order closing these Chapter 11
                        Cases, Ducera believes that it is entitled to the payment of any amounts by
                        the Debtors on account of the Debtors’ indemnification, contribution and/or
                        reimbursement obligations under the Engagement Agreement, as modified
                        by this Final Order, including without limitation the advancement of
                        defense costs, Ducera must file an application therefore in this Court, and
                        the Debtors may not pay any such amounts to Ducera before the entry of an
                        order by this Court approving such payment. This subparagraph (a) is
                        intended only to specify the period during which the Court shall have
                        jurisdiction over any request by Ducera for indemnification, contribution or
                        reimbursement and is not a provision limiting the duration of the Debtors’
                        obligation to indemnify;

                 (b)    subject to the provisions of subparagraph (c) below, the Debtors are
                        authorized to indemnify, and shall indemnify, Ducera in accordance with

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                        the Engagement Agreement for any claim arising from related to or in
                        connection with the services provided for, whether prepetition or post-
                        petition, in the Engagement Agreement; and

                 (c)    notwithstanding any provisions of the Engagement Agreement to the
                        contrary, the Debtors shall have no obligation to indemnify Ducera or
                        provide contribution or reimbursement to Ducera for any claim or expense
                        that is either (i) judicially determined to have resulted primarily from the
                        willful misconduct, gross negligence, bad faith or self-dealing of Ducera, or
                        (ii) settled prior to a judicial determination as to Ducera’s willful
                        misconduct, gross negligence, bad faith or self-dealing, but determined by
                        the Court, after notice and a hearing pursuant to this subparagraph (c), to be
                        a claim or expense for which Ducera should not receive indemnity,
                        contribution or reimbursement under the terms of the Engagement
                        Agreement.

           7.    To the extent there may be any inconsistency between the terms of the Application,

 the Engagement Agreement, the Meyer Declaration and this Final Order, this Final Order shall

 govern.

           8.    Notice of the Application is adequate under Bankruptcy Rule 6004(a).

           9.    The Debtors are authorized to take all actions necessary to implement the relief

 granted in this Final Order.

           10.   The Court shall retain jurisdiction to hear and determine all matters arising from or

 related to the implementation, interpretation, and/or enforcement of this Final Order.


 Dated: _______________, 2020
                                                       UNITED STATES BANKRUPTCY JUDGE




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                                    Exhibit 1

                          Ducera Engagement Agreement




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                                                                                                     Ducera Partners LLC
                                                                                                     499 Park Avenue
                                                                                                     16th Floor
                                                May 15, 2020                                         New York, NY 10022


 CONFIDENTIAL                                                                                        p (212) 671-9700


                                                                                                     DuceraPartners.com
 Remington Outdoor Company, Inc.
 870 Remington Drive
 P.O. Box 700
 Madison, North Carolina 27025

                Attention: Ken D’Arcy, Chief Executive Officer

 Ladies and Gentlemen:

        This amended, restated, and superseding engagement letter (the “Superseding
 Agreement” or the “Agreement”) confirms the understanding and agreement between Remington
 Outdoor Company, Inc. and Ducera Partners LLC and its affiliates including, where appropriate,
 Ducera Securities LLC (collectively, “Ducera”) as set forth herein. 1 For purposes of this
 Superseding Agreement, Remington Outdoor Company, Inc., including any and all affiliates and
 subsidiaries, shall be referred to herein collectively as, the “Company.” This Superseding
 Agreement also confirms the agreement of the Company to perform its obligations, and make
 applicable acknowledgements, as expressly set forth herein.

         Section 1.    Scope of Engagement and Services. During the Term (defined in Section
 8), Ducera shall provide investment banking services to the Company, including the Board of
 Directors of the Company (collectively, the “Board”), as the case may be, relating to the services
 set forth herein:

                (a)     General Financial Advisory and Investment Banking Services. Pursuant to
 this Superseding Agreement, if requested by the Company or the Board, Ducera shall: (1)
 familiarize ourselves with the business, operations, financial condition, and capital structure of the
 Company; (2) assist with the development of financial data and presentations to the Company and
 the Board, various creditors, and other parties; (3) analyze the Company’s financial liquidity and
 evaluate alternatives to improve such liquidity; (4) assist with the evaluation of the Company’s
 valuation, debt capacity and alternative capital structures in light of its projected cash flow; and,
 (5) provide such other advisory services as are customarily provided in connection with the
 analysis and negotiation of any of the transactions contemplated by this Superseding Agreement
 including, without limitation, any testimony in support thereof.




          1
                   The advisory services and compensation arrangements set forth in this Superseding Agreement
 amend, supplement, and replace the prior agreement between the Company and Ducera, dated November 22, 2019
 (the “Ducera November Engagement Letter”), and any other agreements entered into between the Company and
 Ducera prior to the date hereof; provided, however, that the indemnification previously agreed to by the Company
 shall continue to be in full force and effect with regard to work done by Ducera under the Ducera November
 Engagement Letter and any other agreements entered into between the Company and Ducera prior to the date hereof.




                                                        1
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                 (b)     Restructuring Services.2 If requested by the Company or the Board, Ducera
 shall: (1) analyze various Restructuring scenarios and the potential impact of these scenarios on
 the value of the Company and the recoveries of those stakeholders impacted by the Restructuring;
 (2) provide strategic advice with regard to restructuring or refinancing the Company’s Existing
 Obligations; 3 (3) provide financial advice and assistance to the Company in developing a
 Restructuring; (4) in connection therewith, provide financial advice and assistance to the Company
 in structuring any new securities to be issued under a Restructuring; (5) assist the Company and/or
 participate in negotiations with entities or groups affected by the Restructuring; and (6) provide
 any required testimony in connection with the foregoing.

                (c)     Transaction Services.4 If requested by the Company or the Board, Ducera
 shall: (1) provide financial advice to the Company in structuring, evaluating and effectuating a
 Transaction, identify potential counterparties and, if requested, contact and solicit potential
 counterparties; (2) assist with the arrangement and execution of a Transaction, including
 identifying potential counterparties or parties in interest, assisting in the due diligence process, and
 negotiating the terms of any proposed Transaction; (3) provide strategic advice to the Company in



          2
                    For purposes of this Superseding Agreement, the term “Restructuring” shall mean any
 restructuring, reorganization, modification, rescheduling and/or recapitalization (whether or not pursuant to one or
 more proceedings voluntarily or involuntarily commenced under chapters 7 or 11 of title 11 of the United States Code,
 11 U.S.C. 101–1532 (as amended, the “Bankruptcy Code”) or any cases converted thereto (the “Bankruptcy Cases”
 and the court having jurisdiction over such cases, the “Bankruptcy Court”)) of the Company’s Existing Obligations
 (as defined herein) that is achieved (other than a Transaction (as defined herein)) through, without limitation: (a) a
 solicitation of waivers and consents from the holders of Existing Obligations; (b) rescheduling of the maturities of
 Existing Obligations; (c) a change in interest rates, repurchase, settlement, repayment, or forgiveness of Existing
 Obligations; (d) an amendment to the Existing Obligations; (e) conversion of Existing Obligations into equity; (f) an
 exchange offer, or an amend-and-extend involving the issuance of new loans and/or securities in exchange for Existing
 Obligations (excluding, for the avoidance of doubt, any general forbearance granted by holders of Existing
 Obligations); or, (g) the issuance of new loans and/or securities, sale or disposition of assets, sale of debt or equity
 securities or other interests, or other similar transaction or series of transactions.
           3
                     For purposes of this Superseding Agreement, the term “Existing Obligations” shall mean the
 material outstanding indebtedness of the Company including, but not limited to, bank debt, bond debt, asset back
 lending facilities, term loans, credit facilities, trade claims, leases (both on and off balance sheet), pension obligations,
 litigation-related claims and obligations, other on and off balance sheet indebtedness, workers’ compensation claims
 and obligations, and other liabilities.
           4
                    For purposes of this Superseding Agreement, the term “Transaction” shall mean any transaction or
 series of transactions involving: (i) an acquisition, merger, consolidation or other business combination pursuant to
 which the business or assets of the Company are, directly or indirectly, combined with, or acquired by, another
 company; (ii) the acquisition, directly or indirectly, by a buyer or buyers (which term shall include a “group” of
 persons as defined in Section 13(d) of the Securities Exchange Act or 1934, as amended) of equity interests or options,
 or any combination hereof, constituting a majority of the then-outstanding stock of the Company or possessing a
 majority of the then-outstanding voting power of the Company (“Voting Stock”); (iii) any other purchase or
 acquisition, directly or indirectly, by a buyer or buyers or a majority of the assets or Voting Stock of the Company; or
 (iv) the formation of a joint venture partnership or similar entity with the Company or direct investment in the
 Company for the purposes of effecting a transfer of a majority of the Voting Stock of the Company to a third party, a
 lease of assets with or without a purchase option, a merger, consolidation or other business combination, a tender
 offer, or any similar transaction, including through a sale of a material portion of the Company’s assets pursuant to
 Section 363 of the Bankruptcy Code (defined herein).




                                                              2
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 connection with the evaluation of, and responses to, activist shareholder action; and (4) provide
 any testimony in connection therewith.

                 (d)    Financing Services.5 If requested by the Company or the Board, Ducera
 shall: (1) provide financial advice to the Company in connection with the structure and
 effectuation of a Financing, identify potential Investors and, at the Company’s request, contact and
 solicit such Investors; (2) assist with the arrangement of a Financing, including identifying
 potential sources of capital, assisting in the due diligence process, and negotiating the terms of any
 proposed Financing; and (3) provide any testimony in connection therewith; provided, however, it
 is understood and agreed that nothing contained herein shall constitute an express or implied
 commitment by Ducera to act in any capacity or to underwrite, place or purchase any financing or
 securities, which commitment shall only be set forth in a separate underwriting, placement agency
 or other appropriate agreement relating to the Financing. The Company may accept or reject any
 investor or any Financing in its sole discretion.

                 (e)     Generally. Notwithstanding anything contained in this Agreement to the
 contrary, Ducera shall have no responsibility for designing or implementing any initiatives to
 improve the Company’s operations, profitability, cash management or liquidity or to provide any
 fairness, valuation or solvency opinions or to make any independent evaluation or appraisal of any
 assets or liabilities of the Company or any other party. Ducera makes no representations or
 warranties about the Company’s ability to (1) successfully improve its operations, (2) maintain or
 secure sufficient liquidity to operate its business, or (3) successfully complete a Restructuring,
 Transaction, or Financing. Ducera is retained under this Agreement solely to provide advice and
 services regarding the transactions contemplated by this Agreement. Ducera’s engagement does
 not encompass providing “crisis management.” The advisory services and compensation
 arrangements set forth in this Agreement do not encompass other investment banking services or
 transactions that may be undertaken by Ducera at the request of the Company or the Board, or any
 other specific services not set forth in this Agreement. The terms and conditions of such
 investment banking services, including compensation and arrangements, would be set forth in a
 separate written letter agreement between Ducera and the Company, as approved by the Board.

         Section 2.      Compensation. Subject to Section 8, in consideration of Ducera’s services
 set forth in Section 1, the Company agrees to pay Ducera:

               (a)     For services rendered in accordance with Section 1(a), a nonrefundable
 monthly cash fee of $150,000 (the “Monthly Advisory Fee”) due and payable each month during
 the engagement, with the Monthly Advisory Fee commencing as of April 1, 2020, and each and
 every month thereafter until the termination of Ducera’s services pursuant to this Agreement; plus,

               (b)    For services rendered in accordance with Section 1(b), a restructuring fee
 of $3,500,000, earned and payable upon consummation of a Restructuring (the “Restructuring
            5
                     For purposes of this Superseding Agreement, the term “Financing” shall mean a private issuance,
 sale, or placement of the equity, equity-linked, preferred equity, including warrants or hybrid capital, convertible debt,
 financing instruments, obligations, or debt (including, but not limited to, revolving credit and asset backed lending
 facilities, and debtor-in-possession financing) of the Company with one or more lenders and/or investors, or any other
 type of loan, financing, debt, or rights offering (each such lender or investor, an “Investor”).




                                                             3
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 Fee”); provided, however, that no more than one Restructuring Fee shall be payable to Ducera
 hereunder; 6 plus,

                (c)   For services rendered in accordance with Section 1(c), a transaction fee
 payable upon consummation of any Transaction (the “Transaction Fee”). The Transaction Fee
 shall equal one-hundred-and-seventy five basis points (1.75%) of the Proceeds received by the
 Estate;7

                (d)    For services rendered in accordance with Section 1(d), a financing fee (the
 “Financing Fee”), which shall be earned upon commitment and payable upon the closing or
 termination of such Financing, equal to:

                           (1)         1.500% of the face amount of any senior secured debt Raised by
                                       the Company including, but not limited to, debtor-in-possession
                                       Financing, revolving credit and asset backed lending facilities, and
                                       exit Financing; provided that the Financing Fee shall be no less
                                       than $500,000;8 and,


          6
                    For purposes of this Superseding Agreement, a Restructuring shall be deemed to have been
 consummated upon: (a) the closing of the applicable transaction by which the Existing Obligations of the Company
 are to be restructured or refinanced (including, for avoidance of doubt, a payment in full of the Existing Obligations);
 or, (b) in the case of a Court approved Restructuring, the date that the applicable Chapter 11 plan of reorganization
 becomes effective in accordance with the terms and conditions thereof; provided, that if the Restructuring is to be
 completed, in whole or in part, through a pre-arranged or pre-packaged Restructuring: (i) 50% of the Restructuring
 Fee shall be earned and shall be payable upon obtaining support (e.g. via a term sheet, restructuring support agreement
 or other agreement in principle documenting they key terms of such prearranged Plan) from one or more of the
 Company’s key creditor classes (e.g., Term Loan Lenders) that is sufficient to justify filing such pre-arranged or pre-
 packaged Restructuring; and (ii) the remainder of such fees shall be earned and shall be payable upon consummation
 of the Restructuring; provided, further, that in the event that Ducera is paid a Restructuring Fee in connection with a
 pre-arranged or pre-packaged Restructuring, and such a Restructuring is not thereafter consummated, then such fee
 previously paid to Ducera may be credited by the Company against any subsequent fee hereunder that becomes
 payable by the Company to Ducera or, if such crediting does not equal 100% of the pre-paid portion of the
 Restructuring Fee, then such fee shall be returned to the Company upon the termination of the Superseding Agreement.
          7
                   For purposes of this Superseding Agreement, the term “Proceeds” shall include any and all forms
 of consideration including, but not limited to: (a) all cash paid or payable to the Estate or its shareholders (or holders
 of executive equity awards (“Awards”)), including indemnity and net working capital escrow amounts; (b) the fair
 market value of all notes, securities and other property issued or delivered or to be issued or delivered to the Estate
 (including holders of Awards); (c) the amount of any extraordinary dividends or distributions paid to the Estate
 (including Awards) in connection with or contemplated by the Transaction; and, (e) the fair market value of any debt
 and equity securities or other consideration (including, but not limited to, take-back paper), directly or indirectly,
 received by the Estate (including Awards) upon consummation of such a Transaction.


          8
                     For purposes of this Agreement, the term, “Raised,” shall mean the total amount committed by an
 Investor on terms acceptable to the Company and the Board, irrespective as to whether or not the Company draws any
 or all of the amount committed by an Investor, and whether or not the Company applies such amounts to finance any
 of its obligations or a transaction. For illustrative purposes, in connection with any revolving credit or asset backed
 lending facilities, all fees set forth in Section 2 shall be calculated based on the total amount of the facility, including
 any letters of credit, irrespective as to whether the Company is permitted immediately to draw upon the full amount
 of facility, including any borrowing base, at the time of commitment.



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                      (2)       3.500% of the face amount of any unsecured debt or equity Raised
                                by the Company in connection with a Restructuring or a
                                Transaction.

 No more than one Transaction Fee shall be payable to Ducera hereunder.

                 (e)    Notwithstanding anything else contained in this Superseding Agreement,
 the Company and Ducera acknowledge and agree that (1) the Company shall be obligated to pay
 Ducera the greater of the Restructuring Fee and the Transaction Fee, and not both a Restructuring
 Fee and a Transaction Fee; (2) the Financing Fee shall be credited against the Transaction Fee if,
 and only if, the Financing is provided by the same party as the Stalking Horse bidder or such other
 winning bidder; and (3) Ducera shall receive no more than the Monthly Advisory Fee, and shall
 not receive any Restructuring, Transaction, or Financing Fees in the event that a material portion
 of the Company’s assets (i.e., greater than 2/3rd of the Company’s assets) are sold pursuant to
 Chapter 7 of the Bankruptcy Code.

                 (f)    The Company and Ducera acknowledge and agree that the Company is
 under no obligation to consummate a Restructuring, Financing, or Transaction as set forth herein
 and, in the event the Company is unable or unwilling to do so, the Company and the Board will
 have no obligation or liability (other than the Terms and Conditions set forth in Annex A) to
 Ducera other than the payment of the Monthly Advisory Fee due up to the date of termination of
 this Superseding Agreement. The Company and Ducera further acknowledge and agree that: (i)
 hours worked, (ii) the results achieved, and, (iii) the ultimate benefit to the Company of the work
 performed, in each case, in connection with this engagement, may be variable, and that the
 Company and Ducera have taken such factors into account in setting the fees hereunder. To the
 extent further services are requested by the Company and/or the Board, the Company and Ducera
 agree to negotiate in good faith a reasonable scope of services and fee structure in connection with
 any such further services provided by Ducera, depending on the size, scope and nature of the
 services to be provided, as well as any discount for payments rendered in connection with the
 scope of services set forth in Section 1.

         Section 3.      Expenses and Payments. In addition to the fees set forth in Section 2, the
 Company agrees upon request to promptly reimburse Ducera for its reasonable and documented
 out-of-pocket expenses, including, but not limited to, travel and transportation expenses, third
 party research and telecommunication expenses, printing cost, courier and other shipping and
 mailing cost (but excluding any expenses of Ducera’s external legal counsel, absent the prior
 written (email to be sufficient) consent); provided, however, that the total amount of expenses shall
 not exceed $50,000 without the Company’s prior written (email to be sufficient) approval (not to
 be unreasonably withheld); provided, further, that this Section 3 shall in no way affect the
 Company’s obligations as set forth in Annex A hereto. All payments due under this Superseding
 Agreement (including under Section 2 and Section 3 hereof) shall be made in U.S. dollars in
 immediately available funds, free and clear of any set off, claim and applicable taxes (with
 appropriate gross up for any taxes withheld).

        Section 4.      Information and Announcements.

                (a)     Ducera’s advice hereunder is intended solely for the benefit and use of the


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 Company and the Board (in their capacity as directors and, as applicable, officers of the Company),
 and such advice may not be used or relied upon for any other purpose or by any other person,
 including any security holder (in their capacity as such), employee or creditor of the Company.
 No advice rendered by Ducera, whether formal or informal, may be disclosed or described, in
 whole or in part, or otherwise referred to, without Ducera’s prior written consent, which shall not
 be unreasonably withheld except: (i) to the Company’s or the Board’s other professional advisors
 (who may not further disclose such information or use it in any way other than in connection with
 the services contemplated by this Superseding Agreement, except as permitted herein); or, (ii) as
 Legally Required.9 In addition, the terms of this Superseding Agreement may not be disclosed or
 described, in whole or in part, without Ducera’s prior written consent, which shall not be
 unreasonably withheld, except: (x) to the Company’s or the Board’s other professional advisors
 (who may not further disclose such information or use it in any way other than in connection with
 the services contemplated by this Superseding Agreement, except as permitted herein); (y) as
 Legally Required, including in connection with the filing of any retention application seeking with
 a bankruptcy court seeking authority for the Company to retain Ducera. The Company shall be
 solely responsible for the accuracy and completeness of, and Ducera shall have no liability with
 respect to, any materials required to be disclosed to third parties or submitted to any regulatory
 authorities in connection with any services contemplated by this Superseding Agreement.

                  (b)    In performing its services hereunder, Ducera shall be entitled to rely without
 investigation upon all available information, including information supplied to it by or on behalf
 of the Company, any counterparty or their respective officers, directors, employees, accountants,
 counsel and other representatives and shall not be responsible for the accuracy or completeness of,
 or have any obligation to verify, the same. Ducera will not conduct any appraisal of assets or
 liabilities of any party to a transaction or evaluate the solvency thereof under any state or federal
 bankruptcy, insolvency or similar law. The Company further represents and warrants to Ducera
 that, all written information made available to Ducera pursuant hereto will, to the best of the
 Company’s knowledge, be complete and correct in all material respects and will not contain any
 untrue statement of material fact or omit to state a material fact necessary in order to make the
 statements therein, in light of the circumstances under which they were made, not misleading,
 unless otherwise clearly noted thereon or the materials are of such a nature as Ducera would or
 should have known that they were incomplete or otherwise subject to significant uncertainties and
 contingencies.

                 (c)     Ducera will keep confidential information of the Company made available
 to Ducera in connection with this Superseding Agreement, any advice rendered to the Company
 in connection with this engagement, and the terms of the Superseding Agreement, pursuant to that
 letter agreement between the Company and Ducera, dated February 11, 2019 (the “Confidentiality
 Agreement”). Ducera and the Company agree that the Confidentiality Agreement is still in effect
 as of the date of this Superseding Agreement has not previously been terminated by either party.

          9
                   For purposes of this Superseding Agreement, the term “Legally Required” shall mean as requested
 or required by law, judicial authority, regulation, rule, legal process, governmental agency or other regulatory authority
 (including, without limitation, any stock exchange or self-regulatory organization), action, investigation or proceeding
 (including, without limitation, as part of any interrogatory, court order, subpoena, administrative proceeding, civil
 investigatory demand, in each case whether oral or written, or any other legal or regulatory process) or as required by
 the Company’s certificate of incorporation, bylaws or stockholders’ agreement.



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 Ducera understands and agrees that it may receive material non-public information regarding the
 Company in connection with its engagement and it will hold such information pursuant to the
 Confidentiality Agreement, and agrees to comply with all applicable securities laws in connection
 with any such information.

         Section 5.    Terms and Conditions. Because Ducera will be acting as an independent
 contractor to the Company in connection with this Superseding Agreement, the Company and
 Ducera agree to the Terms and Conditions contained in Annex A (the “Terms and Conditions”),
 which Annex A is incorporated by reference into this Superseding Agreement and is an integral
 part hereof.

        Section 6.      Acknowledgements and Waivers.

                  (a)    The Company acknowledges and agrees that Ducera has been retained
 solely to act as investment banker in accordance with Section 1 and that no fiduciary or agency
 relationship between the Company and Ducera has been created in respect of any of the
 transactions set forth herein or Ducera’s engagement hereunder, regardless of whether Ducera has
 advised or is advising the Company on other matters. In connection with the engagement, Ducera
 is acting as an independent contractor, with obligations owing solely to the Company and the Board
 and not in any other capacity. Except as expressly contemplated by the Terms and Conditions as
 set forth in Annex A, the engagement is not intended to confer rights upon any persons not a party
 hereto (including security holders, employees or creditors of the Company).

                  (b)    This Superseding Agreement shall be binding upon and inure to the benefit
 of the Company, Ducera and their respective successors and assigns. If any term, provision,
 covenant or restriction herein (including the Terms and Conditions) is held by a court of competent
 jurisdiction to be invalid, void or unenforceable or against public policy, the remainder of the terms,
 provisions and restrictions contained herein shall remain in full force and effect and shall in no
 way be modified or invalidated.

                 (c)     Ducera and its affiliates and certain of their respective members, officers,
 managers, directors and employees, as well as certain funds in which they may have financial
 interests, may from time-to-time acquire, hold or make direct or indirect investments in, or
 otherwise finance, a wide variety of companies, including parties that may have interests with
 respect to the Company or any transaction or other parties involved in a transaction, from which
 conflicting interests or duties with respect to the Company, its directors, officers and employees
 may arise (any such party, a “Conflicted Party” and collectively, the “Conflicted Parties”).
 Ducera is not currently advising, and shall not advise, any Conflicted Party, including the parties
 listed on Schedule A hereto, in any matter related to the Company, this engagement or the
 transactions contemplated hereunder. Without limitation to the foregoing sentence, during the
 Term, Ducera will promptly (and otherwise upon the written request of the Company) inform the
 Board of the existence of any actual conflicts of interest that may arise after the date of this
 Superseding Agreement and agree to take such action as the Board may reasonably request to
 mitigate the effects of the circumstances described herein. The Company acknowledges and
 agrees that Ducera does, and may continue to, represent the Conflicted Parties in other matters
 unrelated to this engagement and the Company.



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                  (d)    Subject to Section 6(c), the Company acknowledges and agrees that Ducera
 and its affiliates may be engaged in a broad range of transactions involving interests that differ
 from those of the Company and that Ducera has no obligation to disclose such interests and
 transactions to the Company. The Company waives, to the fullest extent permitted by law, any
 claims it may have against Ducera for breach of fiduciary duty or alleged breach of fiduciary duty
 and agrees that Ducera shall have no liability (whether direct or indirect) to the Company in respect
 of such a fiduciary duty claim or to any person asserting a fiduciary duty claim on behalf of or in
 right of the Company, including the Company’s security holders, employees, or creditors. The
 Company understands that Ducera is not undertaking to provide any legal, accounting or tax advice
 in connection with the engagement and that Ducera’s role in any due diligence will be limited
 solely to performing such review as it deems advisable to support its own analysis and shall not be
 on behalf of or for the benefit of the Company.

                (e)     To help the government fight the funding of terrorism and money
 laundering activities, federal law requires all financial institutions to obtain, verify and record
 information that identifies each entity or person that engages Ducera’s services. Pursuant to such
 requirement, Ducera may from time to time request copies of documents that would be necessary
 to comply with the foregoing federal law. The Company further acknowledges and agrees that, in
 accordance with 31 CFR § 1010.230 and to the extent applicable, to complete the Certification
 Regarding Beneficial Owners of Legal Entity Customers in connection with the execution of this
 Superseding Agreement.

         Section 7.      Governing Law; Submission to Jurisdiction; Waiver of Jury Trial. All
 aspects of the relationship created by this Superseding Agreement and any other agreements
 relating to Ducera’s engagement, shall be governed by and construed in accordance with the laws
 of the State of New York, applicable to contracts made and to be performed therein and, in
 connection therewith, the parties hereto consent to the exclusive jurisdiction of the Supreme Court
 of the State of New York sitting in New York County or the United States District Court for the
 Southern District of New York and agree to venue in such courts. Notwithstanding the foregoing,
 solely for purposes of enforcing the Company’s obligations hereunder, the Company consents to
 personal jurisdiction, service and venue in any court proceeding in which any claim relating to or
 arising out of Ducera’s engagement is brought by or against any Indemnified Person. DUCERA
 AND THE COMPANY (ON ITS OWN BEHALF AND, TO THE MAXIMUM EXTENT
 PERMITTED BY LAW, ON BEHALF OF ITS SECURITY HOLDERS AND CREDITORS)
 EACH HEREBY AGREES TO WAIVE ANY RIGHT TO TRIAL BY JURY WITH RESPECT
 TO ANY CLAIM, COUNTERCLAIM OR ACTION ARISING OUT OF OR RELATING TO
 THIS SUPERSEDING AGREEMENT OR DUCERA’S ENGAGEMENT.

        Section 8.      Termination.

                 (a)   Ducera’s engagement hereunder shall commence upon the execution of this
 Superseding Agreement by Ducera and the Company, and will continue until the Superseding
 Agreement is terminated by either party hereto upon thirty (30) days’ prior written notice to the
 other party (the “Term”).

                 (b)     In the event of any termination of Ducera’s engagement hereunder, any fees
 set forth in Section 2 paid or due to be paid prior to termination shall remain the property of Ducera.


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 No termination of Ducera’s engagement hereunder shall affect the Company’s obligations
 pursuant to the Terms and Conditions or its obligations to reimburse Ducera for fees and expenses,
 payable or incurred in accordance with Section 2 and/or Section 3 prior to the termination of this
 Superseding Agreement, and the Terms and Conditions set forth in Annex A shall survive any
 termination of this Superseding Agreement.

                 (c)     In the event of any termination of Ducera’s engagement (other than (i) by
 Ducera; or, (ii) by the Company based on actions taken, or failures to act, by Ducera in bad faith,
 willful misconduct or gross negligence which actions remain unremediated by Ducera within five
 (5) business days after written notice from the Company of its intention to terminate this
 Superseding Agreement on the basis of such actions or failure to act specifying in reasonable detail
 the basis for such termination, Ducera shall continue to be entitled to the full amount of the fees
 set forth in Section 2 (other than the Monthly Advisory Fee) in the event that at any time prior to
 the expiration of Tail Period, the Company consummates a Restructuring, Transaction, or
 Financing; 10 provided, however, if Ducera has a financial advisory, investment banking, or
 consulting relationship with one or more Conflicted Parties in connection with the Company
 during the Tail Period, Ducera shall not be entitled to any fees set forth in Section 2 (other than
 Monthly Advisor Fees paid prior to the termination of this Agreement).

                 (d)    Except as specifically provided for herein, no termination of Ducera’s
 engagement shall affect: (1) the Company’s obligations pursuant to the Terms and Conditions as
 set forth in Annex A or its obligations to reimburse Ducera for earned fees and expenses, payable
 or incurred in accordance with Section 2 and Section 3 prior to the termination of this Superseding
 Agreement; (2) Ducera’s obligations pursuant to Section 4(c), Section 6(d) and the
 Confidentiality Agreement; or, (3) Section 7, Section 8, Section 9 or Section 10.

         Section 9.      Bankruptcy Court Approval. In the event that the Company is or
 becomes a debtor under the Bankruptcy Code, whether voluntarily or involuntarily, the Company
 shall use commercially reasonable effort to seek an order authorizing Ducera’s employment
 pursuant to the terms of this Superseding Agreement, as a professional person pursuant to, and
 subject to the standard of review of, Section 328(a) of the Bankruptcy Code and applicable federal
 and local rules and orders and not subject to any other standard of review under Section 330 of the
 Bankruptcy Code. In so agreeing to Ducera’s retention, the Company acknowledges that it
 believes that Ducera’s general restructuring and liability management experience and expertise,
 our knowledge of the capital markets, and our merger and acquisition capabilities will inure to the
 benefit of the Company in pursuing any transaction, that the value to the Company of our services
 derives in substantial part from that expertise and experience and that, accordingly, the structure
 and amount of the contingent fees are reasonable regardless of the number of hours to be expended
 by our professionals in the performance of the services to be provided hereunder. The Company
 shall submit Ducera’s retention application as soon as practicable following the Company’s filing
 under the Bankruptcy Code, or the entry of an order for relief in any involuntary case filed against
 the Company, and use its reasonable efforts to cause such application to be considered on the most
 expedited basis. The retention application and the proposed order authorizing Ducera’s
 employment shall be provided to Ducera as much in advance of any Bankruptcy filing as is

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                    For purposes of this Superseding Agreement, the term “Tail Period” shall mean any time prior to
 the expiration of twelve (12) months after any such termination.



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 practicable, and must be acceptable to Ducera in its reasonable discretion. Following entry of the
 order authorizing Ducera’s employment, the Company shall pay all reasonable and documented
 fees and expenses due pursuant to this Superseding Agreement, as approved by the Bankruptcy
 Court, as promptly as possible in accordance with the terms of this Superseding Agreement, the
 Bankruptcy Code and applicable rules and orders. Ducera shall have no obligation to provide
 services under this Superseding Agreement in the event that the Company becomes a debtor under
 the Bankruptcy Code unless Ducera’s retention under this Superseding Agreement is approved
 under the Bankruptcy Code by final order of the Bankruptcy Court which is acceptable to Ducera
 and which approves this Superseding Agreement in all material respects. If the order authorizing
 Ducera’s employment is not obtained, or is later reversed, modified or set aside for any reason,
 Ducera may terminate this Superseding Agreement.

         Section 10. Entire Agreement; Amendments.                 This Superseding Agreement,
 including Annex A, constitutes the entire agreement between Ducera and the Company with
 respect to the engagement and supersedes all other oral and written representations, understandings
 or agreements relating to this engagement. No alteration, waiver, amendment, change or
 supplement hereto shall be binding or effective unless the same is set forth in writing signed by a
 duly authorized representative of each party.

         Section 11. Arbitration. Any controversy or claim arising out of or relating to this
 Superseding Agreement or the transactions described herein, or the breach, termination or validity
 of this Superseding Agreement (including the determination of the scope or applicability of this
 agreement to arbitrate) (in any such case, a “Dispute”), will be resolved as follows:

                (a)     Efforts to Resolve. The parties will use reasonable efforts to resolve the
 Dispute through direct discussions during the thirty (30) days after a party gives the other party
 written notice of a Dispute.

                 (b)     Procedures. Failing such resolution, any party can submit the Dispute to
 arbitration by delivering written notice to the other party. The Dispute will be finally settled by
 binding arbitration in The City of New York, New York, before a single arbitrator. The arbitration
 will be administered by JAMS pursuant to its Comprehensive Arbitration Rules and Procedures
 (or pursuant to its Streamlined Arbitration Rules and Procedures then in effect if the amount in
 controversy is $250,000 or less). The arbitrator will be chosen in accordance with applicable
 JAMS rules and procedures then in effect. Judgment upon the arbitration award may be entered
 by any court having jurisdiction. The arbitration award, including the determination of any amount
 of damages suffered by any party by reason of the acts or omissions of any other party, will be
 final and binding upon the parties to the maximum extent permitted by law. This section will not
 preclude the parties from seeking provisional or interim relief from a court of competent
 jurisdiction before the appointment of an arbitrator.

                 (c)     Continue to Perform. When a Dispute occurs, and while it is under
 arbitration, the parties will continue to fulfill their respective obligations, and will be entitled to
 exercise their respective rights under this Superseding Agreement.

                (d)      Confidentiality. The Dispute resolution proceedings contemplated by this
 section (and all related claims, defenses and proceedings, including the existence of the Dispute


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 and the fact that there is an arbitration proceeding) will be kept confidential and private as
 permitted by law (except as necessary to enter judgment upon the award or as otherwise required
 by applicable law). The parties therefore cannot disclose the existence, content or results of any
 proceedings conducted in accordance with this provision, and any materials submitted in
 connection with those proceedings will not be admissible in any other proceeding; provided,
 however, that this confidentiality provision will not prevent a petition to vacate or enforce an
 arbitral award, and will not bar disclosures required by the Company’s certificate of incorporation,
 bylaws or stockholders’ agreement or applicable law, rule, regulation, stock exchange listing
 agreement or legal process.

               (e)     Binding Nature. The parties intend that this section be valid, binding,
 enforceable and irrevocable.

                                  *               *              *

        We are pleased to accept the engagement and look forward to working with you. Please
 confirm your agreement with the foregoing (including the attached Terms and Conditions) by
 signing each of the enclosed copies of this Superseding Agreement and returning to us one fully
 signed copy.

                        Very truly yours,

                                         DUCERA PARTNERS LLC and, where appropriate, its
                                           affiliates, including Ducera Securities LLC

                                         By: __________________________
                                         Name: Bradley C. Meyer
                                         Title: Partner

  Accepted, Agreed, and Effective as
  of April 1, 2020:


  REMINGTON OUTDOOR COMPANY, INC.
    and all direct and indirect subsidiaries


  By:
        Name: Ken D’Arcy
        Title: Chief Executive Officer




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                            TERMS AND CONDITIONS – ANNEX A

         In further consideration of the engagement of Ducera Partners LLC and its affiliates
 including, where appropriate, Ducera Securities LLC (collectively, “Ducera”) to render corporate
 finance and other investment banking advisory services to Remington Outdoor Company, Inc.
 (collectively with its subsidiaries, the “Company”) pursuant to the Superseding Agreement to
 which these Terms and Conditions are attached, the Company and Ducera hereby agree that these
 Terms and Conditions shall be incorporated by reference into the Superseding Agreement and shall
 form an integral part thereof. Capitalized terms used but not defined herein shall have the same
 meanings specified in the Superseding Agreement and any references to this Superseding
 Agreement or the engagement shall mean the Superseding Agreement together with these Terms
 and Conditions.

         A.        The Company agrees to indemnify and hold harmless Ducera, its affiliates, the
 respective members, managers, directors, officers, partners, agents and employees of Ducera and
 its affiliates (collectively, “Indemnified Persons”) from and against, and the Company agrees that
 no Indemnified Person shall have any liability (whether direct or indirect, in contract or tort or
 otherwise) to the Company or its owners, parents, affiliates, security, holders or creditors (in their
 respective capacities as such) for, any losses, claims, expenses (including reasonable attorneys’
 fees), damages or liabilities (including actions or proceedings in respect thereof) (collectively,
 “Losses”):

                (1)     As a result of (a) the Company’s actions or failures to act (including
                        statements or omissions made or information provided by the Company or
                        its agents) in connection with the engagement; or (b) actions or failures to
                        act by an Indemnified Person in connection with this engagement with the
                        Company’s consent, or otherwise in reasonable reliance on the Company’s
                        direction, actions, or failures to act in each case in connection with the
                        engagement; or

                (2)     Otherwise related to or arising out of the engagement, Ducera’s
                        performance thereof or any other services Ducera is asked to provide to the
                        Company pursuant to this Superseding Agreement (in each case, including
                        activities prior to the date hereof), except that this Annex A(A)(1) and
                        A(A)(2) shall not apply to any Losses (nor shall the limitation of liability
                        above apply) to the extent that they are finally determined by a court of
                        competent jurisdiction to have resulted from the bad faith, willful
                        misconduct, or gross negligence of an Indemnified Person.

        B.       If such indemnification is for any reason not available (other than connection with
 situations covered by the exceptions set forth in Annex A(A)(2)), or is insufficient to hold an
 Indemnified Person harmless, the Company agrees to contribute to the Losses involved in such
 proportion as is appropriate to reflect the Relative Economic Interests (as defined herein) of the
 Company, on the one hand, and of Ducera, on the other hand, with respect to the engagement; or,
 if such allocation is determined by a court of competent jurisdiction to be unavailable, in such
 proportion as is appropriate to reflect other equitable considerations such as the relative fault of
 the Company on the one hand, and of Ducera on the other hand; provided, however, that, to the




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 extent permitted by applicable law, the Indemnified Persons shall not be responsible for Losses
 which in the aggregate exceed the amount of all fees actually received by Ducera from the
 Company in connection with the engagement.

        C.      The “Relative Economic Interests” of the Company, on the one hand, and Ducera,
 on the other hand, with respect to the engagement shall be deemed to be in the same proportion as
 (1) the total value paid or proposed to be paid or received or proposed to be received by the
 Company and its security holders, as the case may be, pursuant to the transaction(s) contemplated
 by the engagement, whether or not consummated, bears to (2) all fees actually received by Ducera
 in connection with the engagement. Without limiting the generality of the foregoing, in no event
 shall any Indemnified Person have any liability to the Company or any of its affiliates or security
 holders (in their respective capacities as such) for any consequential, special, exemplary or
 punitive damages arising out of the engagement or the performance thereof (other than such
 damages which the Company is required to pay to a third party).

         D.       If any Indemnified Person becomes involved in any capacity in any action, claim,
 suit, investigation or proceeding, actual or threatened, brought by or against any person, including
 security holders of the Company, in connection with or as a result of the engagement, the Company
 also agrees to reimburse such Indemnified Persons for their reasonable and documented expenses
 (including, without limitation, reasonable and documented legal fees and other costs and expenses
 incurred in connection with investigating, preparing for and responding to third-party subpoenas
 or enforcing the engagement by one set of counsel and local counsel, as applicable) as such
 expenses are incurred; and, provided further, that such party receiving reimbursement of expenses
 shall return any such reimbursements in the event that a court of competent jurisdiction finally
 determines that indemnification is unavailable in connection with situations covered by the
 exceptions set forth in Annex A(A)(2).

        E.        Ducera shall not be liable for any settlement of any claim, action, suit, investigation
 or proceeding effected without its consent. The Company will not, without Ducera’s prior written
 consent (which consent shall not be unreasonably withheld, conditioned, or delayed), settle,
 compromise, consent to the entry of any judgment in or otherwise seek to terminate any claim,
 action, suit, investigation or proceeding in respect of which it is foreseeable that indemnification
 may be sought hereunder, whether or not an Indemnified Person is a party thereto, unless such
 settlement, compromise, consent or termination includes an unconditional release of each
 Indemnified Person from any liabilities arising out of such claim, action, suit, investigation or
 proceeding. The Company will not permit any settlement or compromise to include, or consent to
 the entry of any judgment that includes, a statement as to, or an admission of fault, culpability or
 a failure to act by or on behalf of an Indemnified Person, without such Indemnified Person’s prior
 written consent (which consent shall not be unreasonably withheld, conditioned, or delayed). The
 Company shall not be required to indemnify any Indemnified Person for any settlement effected
 without the Company’s consent (which consent shall not be unreasonably withheld, conditioned
 or delayed).

       F.       The Company’s obligations pursuant to these Terms and Conditions shall inure to
 the benefit of any successors, assigns, heirs and personal representatives of each Indemnified
 Person and are in addition to any rights that each Indemnified Person may have at common law or
 otherwise. Prior to entering into any agreement or arrangement with respect to, or effecting, any




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 extraordinary transaction that is reasonably likely to impair the Company’s ability to meet its
 current and potential future obligations pursuant to these Terms and Conditions, the Company will
 notify Ducera in writing thereof and, if requested by Ducera, shall use commercially reasonable
 efforts to arrange alternative means of providing for the obligations of the Company set forth
 herein upon terms and conditions reasonably satisfactory to Ducera. For the avoidance of doubt,
 the preceding sentence shall not trigger any further obligation on the part of the Company in any
 transaction in which the Company’s obligations under the engagement are assumed by a successor
 company by operation of law, including through merger.

        G.       Reasonably promptly after receipt by Ducera of notice of its involvement in any
 action, claim, suit, investigation or proceeding, Ducera shall, if a claim for indemnification in
 respect thereof is to be made against the Company under these Terms and Conditions, notify the
 Company of such involvement to the extent permitted by applicable laws and regulations. Failure
 by Ducera to so notify the Company, if permitted by applicable laws and regulations, shall relieve
 the Company from the obligations to indemnify or otherwise to Ducera under these Terms and
 Conditions only to the extent that the Company suffers actual and material prejudice as a result of
 such failure. The Company, following its acknowledgment of its obligation to indemnify such
 Indemnified Person, shall be entitled to assume the defense of any such action or proceeding with
 counsel reasonably satisfactory to the Indemnified Person. No Indemnified Person may settle any
 such action or proceeding for which indemnification is or will be sought prior to the Company
 having the reasonable opportunity to assume its defense. Upon assumption by the Company of
 the defense of any such action or proceeding, the Indemnified Person shall have the right to
 participate in such action or proceeding and to retain its own counsel, but the Company shall not
 be liable for any legal expenses of other counsel subsequently incurred by such Indemnified Person
 in connection with the defense thereof unless: (i) the Company has agreed in writing to pay such
 fees and expenses; (ii) the Company shall have failed to employ counsel reasonably satisfactory
 to the Indemnified Person in a timely manner; or (iii) the Indemnified Person shall have been
 advised by counsel that there are actual or potential conflicting interests between the Company
 and the Indemnified Person, including situations in which there are one or more legal defenses
 available to the Indemnified Person that are different from or additional to those available to the
 Company; provided, however, that the Company shall not, in connection with any one such action
 or proceeding or separate but substantially similar actions or proceedings arising out of the same
 general allegations, be liable for the fees and expenses of more than one separate firm of attorneys
 at any time for all Indemnified Persons including Ducera, except to the extent that local counsel,
 in addition to its regular counsel, is required in order to effectively defend against such action or
 proceeding and except as may be required pursuant to Annex A(G)(iii).

       H.      The obligations of the parties hereto pursuant to these Terms and Conditions shall
 survive any expiration or Term of the Superseding Agreement or Ducera’s engagement hereunder.




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                                           Schedule A

                               Pre-Existing Relationship Person

 Pre-Existing Relationship Person with respect to a Financing:

    1. Franklin Advisers, Inc. and its managed accounts

    2. The Cincinnati High Yield Desk of J.P. Morgan Investment Management Inc., as
       investment manager and authorized agent of certain discretionary accounts

    3. The Indianapolis High Yield Desk of JPMorgan Investment Management Inc., as
       investment manager of certain discretionary accounts

    4. Whitebox Advisors LLC




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